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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AMERICAN FEDERATION OF                             Case No. 25-cv-03698-SI
                                         GOVERNMENT EMPLOYEES, AFL-CIO,
                                   8     et al.,
                                                                                            ORDER GRANTING TEMPORARY
                                   9                    Plaintiffs,                         RESTRAINING ORDER AND
                                                                                            COMPELLING CERTAIN
                                  10             v.                                         DISCOVERY PRODUCTION
                                  11     DONALD J. TRUMP, et al.,                           Re: Dkt. No. 37
                                  12                    Defendants.
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                                  13

                                  14          The new presidential administration has made clear that it intends to change the way the

                                  15   federal government operates.       An Executive Order issued on February 11, 2025 seeks to

                                  16   “commence[] a critical transformation of the Federal bureaucracy” by “eliminating waste, bloat, and

                                  17   insularity[.]” Exec. Order No. 14210, 90 Fed. Reg. 9,669 (Feb. 11, 2025). It is the prerogative of

                                  18   presidents to pursue new policy priorities and to imprint their stamp on the federal government. But

                                  19   to make large-scale overhauls of federal agencies, any president must enlist the help of his co-equal

                                  20   branch and partner, the Congress.       Federal courts should not micromanage the vast federal

                                  21   workforce, but courts must sometimes act to preserve the proper checks and balances between the

                                  22   three branches of government. As a group of conservative former government officials and advisors

                                  23   have written to the Court, “Unchecked presidential power is not what the Framers had in mind.”

                                  24   Dkt. No. 69-1 at 1.

                                  25          The plaintiffs in this case—a collection of unions, non-profit organizations, and local

                                  26   governments—contend that the executive branch cannot lawfully implement large-scale reductions

                                  27   in the federal workforce without the participation of Congress. They bring this suit against President

                                  28   Trump, numerous federal agencies, and their respective agency heads. Specifically, plaintiffs
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                                   1   contest several layers of actions within the executive branch. First, they argue President Trump

                                   2   exceeded his authority when issuing Executive Order 14210, which directs agency heads “to initiate

                                   3   large-scale reductions in force (RIFs),” focusing on “all agency initiatives, components, or

                                   4   operations that my Administration suspends or closes.” See Exec. Order No. 14210 § 3(c). Second,

                                   5   they argue that a subsequent memo from the Office of Management and Budget and the Office of

                                   6   Personnel Management implementing the executive order exceeded those agencies’ authority and

                                   7   violated the Administrative Procedure Act (APA). And third, they argue that the “Agency RIF and

                                   8   Reorganization Plans” submitted by various agencies across the government likewise violate the

                                   9   Administrative Procedure Act. With layoffs pending across multiple federal agencies, plaintiffs

                                  10   seek a temporary restraining order to pause any reductions in force and preserve the status quo as

                                  11   this lawsuit moves forward.

                                  12          The Court GRANTS a temporary restraining order as described below. 1 The Court finds
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                                  13   that plaintiffs are likely to succeed on the merits of at least some of their claims. The irreparable

                                  14   harm that plaintiffs will suffer in the absence of injunctive relief outweighs any burden placed on

                                  15   the government by this two-week pause. In the context of a dynamic situation, the Court’s

                                  16   temporary order seeks to preserve the status quo and protect the power of the legislative branch.

                                  17          Plaintiffs have submitted sixty-two sworn declarations to the Court, constituting more than

                                  18   1,000 pages of evidentiary material. Before proceeding through technical legal arguments, the Court

                                  19   finds it appropriate to highlight several of these declarations to illustrate what is at stake in this

                                  20   lawsuit and some of the ways in which executive and legislative powers intersect.

                                  21          The National Institute for Occupational Safety and Health (NIOSH) is part of the Centers

                                  22   for Disease Control in the Department of Health and Human Services. Dkt. No. 41-1 (“Decl.

                                  23   Niemeier-Walsh AFGE”) ¶ 5. There are (or were) 222 NIOSH employees in the agency’s Pittsburgh

                                  24   office that research health hazards faced by mineworkers. Id. ¶ 28. According to the union that

                                  25   represents many of these employees, the department’s reduction-in-force will terminate 221 of 222

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                                               At the hearing, the Court denied defendants’ request to convert plaintiffs’ motion for a
                                  28   temporary restraining order into a motion for a preliminary injunction.
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                                   1   of these positions. Id. Congress established NIOSH in the Occupational Safety and Health Act of

                                   2   1970. Pub. L. 91-596 § 22, 84 Stat. 1590, 1612 (1970).

                                   3          The Department of Labor houses the Office of Federal Contract Compliance Programs,

                                   4   which ensures that federal contractors do not discriminate on the basis of race, color, religion, sex,

                                   5   national origin, veteran status, or disability. Dkt. No. 37-24 (“Decl. Levin AFGE”) ¶ 7. In late

                                   6   January of this year, department leadership directed the employees in this office to stop their

                                   7   enforcement efforts. Id. ¶ 9. On April 16, 2025, after giving employees an opportunity to accept a

                                   8   deferred resignation, the department placed remaining employees in the office on administrative

                                   9   leave, effective almost immediately. Id. ¶ 14. On May 6, 2025, employee union representatives

                                  10   were informed that a RIF had been approved and that all positions in the Washington, D.C.

                                  11   Enforcement Division of the office were being abolished. Dkt. No. 70-2 (“Decl. Gamble AFGE

                                  12   ISO Reply”) ¶ 4, Ex. A. Congress has directed by statute that the Department of Labor “shall
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                                  13   promptly investigate” complaints of discrimination against disabled workers or veterans by federal

                                  14   contractors. 29 U.S.C. § 793(b); 38 U.S.C. § 4212.

                                  15          The federal Office of Head Start resides in the Department of Health and Human Services.

                                  16   Plaintiff Santa Clara County, California runs a childcare and early learning program for 1,200

                                  17   infants and preschoolers with funding from federal Head Start, but that funding expires June 30,

                                  18   2025. Dkt. No. 37-26 (“Decl. Neuman SEIU”) ¶ 21. County staff worked with Office of Head Start

                                  19   employees to apply for a grant renewal, but those federal employees have now all been laid off and

                                  20   their San Francisco office closed. Id. Facing uncertainty about whether its grant will be approved

                                  21   before funding expires, the county has notified more than one hundred early learning program

                                  22   workers that they might lose their jobs on July 1, 2025. Id. Congress reauthorized the national Head

                                  23   Start program and provided details for its administration through the Improving Head Start for

                                  24   School Readiness Act of 2007. Pub. L. 110-134, 121 Stat. 1363 (2007).

                                  25          The Farm Service Agency in the U.S. Department of Agriculture provides specialized, low-

                                  26   interest loans to small farmers not available from the private sector. Dkt. No. 37-37 (“Decl. Davis

                                  27   NOFA”) ¶¶ 20-21. After unprecedented flooding in 2024, one Vermont farmer asked the Farm

                                  28   Service Agency for disaster assistance to plant a new crop, but the agency first had to inspect the
                                                                                         3
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                                   1   fields. Id. ¶ 28. Due to low staffing levels, the farmer had to wait three to four weeks for an

                                   2   inspection and consequently missed the planting window that season. Id. The department now

                                   3   reportedly intends to further reduce staff at the agency. Id. ¶ 18. Other farmers have reported their

                                   4   contacts at the department have been laid off and the remaining staff are not familiar with their farms

                                   5   or their projects. Id. ¶¶ 40-41. Congress granted the Secretary of Agriculture the authority to

                                   6   establish the Farm Service Agency in 1994. Pub. L. 103-354 § 226, 108 Stat. 3178, 3214 (1994)

                                   7   (codified at 7 U.S.C. § 6932).

                                   8            The Social Security Administration seeks to reduce its workforce by 7,000 employees. Dkt.

                                   9   No. 37-11 (“Decl. Couture AFGE”) ¶ 9, Ex. C. Since staff reductions began, retirees have reported

                                  10   long wait times to reach an agency representative on the phone, problems with the agency’s website,

                                  11   and difficulty making in-person appointments. Dkt. No. 37-39 (“Decl. Fiesta ARA”) ¶ 7. One

                                  12   individual got through to a representative only after eleven attempts to call, each involving hours on
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                                  13   hold. Dkt. No. 41-2 (“Decl. Nelson AFSCME”) ¶ 12. Congress first established the Social Security

                                  14   Administration in the Social Security Act of 1935, known at that time as the Social Security Board.

                                  15   Pub. L. 74-271, § 701 et seq., 49 Stat. 620, 635 (1935) (now codified at 42 U.S.C. § 901 et seq.).

                                  16            These examples illustrate there are various ways in which Congress is lawfully involved in

                                  17   the activity of administrative agencies. With this basic point in mind, the Court now turns to the

                                  18   facts of this case.

                                  19

                                  20                                            BACKGROUND

                                  21   I.       Executive Order 14210 and the Challenged Memorandum

                                  22            On February 11, 2025, President Trump issued Executive Order 14210, “Implementing the

                                  23   President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative.” 90 Fed.

                                  24   Reg. 9,669 (Feb. 11, 2025). The order “commences a critical transformation of the Federal

                                  25   bureaucracy[.]” Id. § 1. Section 3(c) of the order states,

                                  26                   Agency Heads shall promptly undertake preparations to initiate large-
                                                       scale reductions in force (RIFs), consistent with applicable law, and
                                  27                   to separate from Federal service temporary employees and
                                                       reemployed annuitants working in areas that will likely be subject to
                                  28                   the RIFs. All offices that perform functions not mandated by statute

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                                                      or other law shall be prioritized in the RIFs, including all agency
                                   1                  diversity, equity, and inclusion initiatives; all agency initiatives,
                                                      components, or operations that my Administration suspends or closes;
                                   2                  and all components and employees performing functions not
                                                      mandated by statute or other law who are not typically designated as
                                   3                  essential during a lapse in appropriations as provided in the Agency
                                                      Contingency Plans on the Office of Management and Budget website.
                                   4                  This subsection shall not apply to functions related to public safety,
                                                      immigration enforcement, or law enforcement.
                                   5
                                       Id. § 3(c). The order also directs agencies to submit a report within thirty days to the Office of
                                   6
                                       Management and Budget that “shall discuss whether the agency or any of its subcomponents should
                                   7
                                       be eliminated or consolidated.” Id. § 3(e).
                                   8
                                              In response to Executive Order 14210, the directors of the Office of Management and Budget
                                   9
                                       (OMB) and the Office of Personnel Management (OPM) sent a memo to heads of executive
                                  10
                                       departments and agencies on February 26, 2025. Dkt. No. 37-1, Ex. B (“OMB/OPM Memo”). The
                                  11
                                       memo states that “tax dollars are being siphoned off to fund unproductive and unnecessary programs
                                  12
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                                       that benefit radical interest groups while hurting hard-working American citizens. [¶] The
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                                  13
                                       American people registered their verdict on the bloated, corrupt federal bureaucracy on November
                                  14
                                       5, 2024 by voting for President Trump and his promises to sweepingly reform the federal
                                  15
                                       government.”    Id. at 1.    The memo instructed agency heads to submit Agency RIF and
                                  16
                                       Reorganization Plans (ARRPs) to OMB and OPM for review and approval. Agencies were directed
                                  17
                                       to submit a “Phase 1” ARRP by March 13, 2025 that included, among other information, any
                                  18
                                       Congressional statutes that established the agency, whether parts of the agency should be eliminated,
                                  19
                                       a list of essential positions, how the agency intends to reduce positions, a “suggested plan for
                                  20
                                       congressional engagement to gather input and agreement on major restructuring efforts,” and the
                                  21
                                       agency’s timeline for implementation. Id. at 3-4. The memo directs agencies to submit “Phase 2”
                                  22
                                       ARRPs by April 14, 2025 that include, among other information, all reductions that will occur
                                  23
                                       through RIFs, proposed relocations of offices from the Washington, D.C. area to “less-costly parts
                                  24
                                       of the country,” “[a]n explanation of how the ARRPs will improve services for Americans and
                                  25
                                       advance the President’s policy priorities,” a certification that the ARRPs will improve the delivery
                                  26
                                       of direct services, and a timetable for implementation. Id. at 4-6. The memo also instructs agencies
                                  27
                                       to send monthly progress reports to OMB and OPM on May 14, June 16, and July 16, 2025. Id. at
                                  28
                                                                                        5
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                                   1   6.     The memo excludes law enforcement, border security, national security, immigration

                                   2   enforcement, public safety, military personnel, the Executive Office of the President, and the U.S.

                                   3   Postal Service. Id.

                                   4

                                   5   II.      The Agency Defendants and Their Locations within the Federal Bureaucracy

                                   6            A.     The Central Agencies: OMB, OPM, and DOGE

                                   7            In 1970, Congress transferred OMB to the president’s authority. Reorganization Plan No. 2

                                   8   of 1970, 84 Stat. 2085 (1970) (located at 5 U.S.C. Appendix, page 213). In 1982, Congress codified

                                   9   OMB’s current location in the Executive Office of the President2 at 5 U.S.C §§ 501-507. Congress

                                  10   established OPM as an “independent establishment in the executive branch” and the agency resides

                                  11   outside of the Executive Office of the President. 5 U.S.C. § 1101. In 2025, President Trump

                                  12   refashioned the U.S. Digital Service—an office that President Obama created within OMB3—into
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                                  13   the U.S. DOGE Service via Executive Order 14158. 90 Fed. Reg. 8,441 (Jan. 20, 2025). DOGE is

                                  14   known colloquially as the Department of Government Efficiency, but it derives no authority from

                                  15   statutes.

                                  16

                                  17            B.     The Other Federal Agency Defendants

                                  18            The defendants include twenty-one other federal departments or agencies that are arguably

                                  19   more public facing. For ease of reference, this order refers to these defendants collectively as the

                                  20   “federal agency defendants.” That term does not include OMB, OPM, or DOGE. Fourteen of the

                                  21   federal agency defendants are considered “executive departments” under 5 U.S.C. § 101 and have

                                  22   been established by Congressional statute.4 See, e.g., 7 U.S.C. § 2201 (USDA); 22 U.S.C. § 2651

                                  23

                                  24
                                                2
                                                 “Established in 1939, the Executive Office of the President (EOP) consists of a
                                       group of federal agencies immediately serving the President.” Harold C. Relyea, Cong. Rsch. Serv.,
                                  25   98-606, The Executive Office of the President: An Historical Overview (2008).
                                              3
                                                 See Clinton T. Brass and Dominick A. Fiorentino, Cong. Rsch. Serv., IN12493,
                                  26   Department of Government Efficiency (DOGE) Executive Order: Early Implementation (2025).
                                              4
                                  27             These include the departments of Agriculture (USDA), Commerce, Defense, Energy,
                                       Health and Human Services (HHS), Homeland Security (DHS), Housing and Urban Development
                                  28   (HUD), Justice (DOJ), Interior, Labor, State, Treasury, Transportation, and Veterans Affairs (VA).
                                       The only executive department not named in this suit is the Department of Education. Plaintiffs’
                                                                                        6
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                                   1   (State); 38 U.S.C. § 301 (VA); 42 U.S.C. § 3532 (HUD).

                                   2          Six additional defendant agencies have a statutory basis elsewhere in the United States Code

                                   3   and one was created by President Nixon under reorganization authority granted by Congress, as

                                   4   follows:

                                   5          Defendant AmeriCorps, known formally as the Corporation for National and Community

                                   6   Service, received its current statutory formulation through the National and Community Service

                                   7   Trust Act of 1993. Pub. L. 103-82, title II, §§ 202-03, 107 Stat. 785, 873 (1993) (codified at 42

                                   8   U.S.C. § 12651 et seq.). AmeriCorps is a “government corporation.” 42 U.S.C. § 12651 (referring

                                   9   to 5 U.S.C. § 103).

                                  10          Defendant General Services Administration (GSA) was established by Congress in the

                                  11   Federal Property and Administrative Services Act of 1949. Pub. L. 81-152, 63 Stat. 277 (1949).

                                  12   The structure of the agency is now codified at 42 U.S.C. § 301 et seq.
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                                  13          Defendant National Labor Relations Board (NLRB) was created by the National Labor

                                  14   Relations Act of 1935. Pub. L. 74-198, ch. 372, 49 Stat. 449 (1935). The structure of the agency is

                                  15   codified at 29 U.S.C. § 153.

                                  16          Defendant National Science Foundation (NSF) was established by the National Science

                                  17   Foundation Act of 1950. Pub. L. 81-507, ch. 171, 64 Stat. 149 (1950). The structure of the agency

                                  18   is codified at 42 U.S.C. § 1861 et seq.

                                  19          Defendant Small Business Administration (SBA) was established by the Small Business Act

                                  20   of 1953 as amended in 1958. Pub. L. 85-536, 72 Stat. 384 (1958). The structure of the agency is

                                  21   now codified at 15 U.S.C. § 633 et seq.

                                  22          Defendant Social Security Administration (SSA) was first established by Congress in the

                                  23   Social Security Act of 1935, known at that time as the Social Security Board. Pub. L. 74-271, § 701

                                  24   et seq., 49 Stat. 620, 635 (1935) (now codified at 42 U.S.C. § 901 et seq.).

                                  25          Defendant Environmental Protection Agency (EPA) was created by the Reorganization Plan

                                  26
                                  27
                                       TRO motion does not implicate the departments of Defense, Justice, or Homeland Security. See
                                  28   Dkt. No. 37 at 1.
                                                                                         7
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                                   1   No. 3 of 1970 under statutory reorganization authority granted to the president by Congress at that

                                   2   time. 35 Fed. Reg. 15,623, 84 Stat. 2086 (1970) (located at 5 U.S.C. Appendix, page 216).

                                   3

                                   4   III.   Agency RIF and Reorganization Plans (ARRPs)

                                   5          Pursuant to the terms of the OMB/OPM February 26, 2025 memo, federal agencies were

                                   6   directed to submit Phase 1 ARRPs by March 13, 2025 and Phase 2 ARRPs by April 14, 2025.

                                   7   OMB/OPM Memo at 3-4. Defendants have not publicly released these plans despite requests from

                                   8   the public, employees, and members of Congress. An agency’s action steps would include the

                                   9   following: (1) submitting its ARRP to OMB and OPM; (2) receiving approval of the ARRP by OMB

                                  10   and OPM; (3) sending of RIF notices; (4) placing employees on administrative leave; and

                                  11   (5) terminating employees.

                                  12          As described in sworn declarations submitted by plaintiffs, the defendant agencies appear to
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                                  13   be at different points along this continuum of action. RIFs have started at multiple agencies,

                                  14   including HHS, HUD, Labor, State, AmeriCorps, GSA, and SBA. After sending RIF notices to

                                  15   employees, agencies have sometimes placed these employees on immediate administrative leave

                                  16   until the termination date set by the RIF, usually sixty days after the notice. See, e.g., Dkt. No. 37-

                                  17   14 (“Decl. Fabris AFGE”) ¶¶ 11-15. The earliest RIF termination date that the Court can discern

                                  18   from the declarations is May 18, 2025, at which point some HUD employees will be terminated.

                                  19   Dkt. No. 41-1 (“Decl. Bobbitt AFGE”) ¶¶ 13, 14, Exs. C, D.

                                  20          As directed by Executive Order 14210, the scale of the RIFs is large. Here are some

                                  21   examples. HHS is issuing RIF notices to 8,000-10,000 employees. Dkt. No. 37-17 (“Decl.

                                  22   Garthwaite AFGE”) ¶ 7, Ex. A. Reports indicate the Department of Energy has identified 8,500

                                  23   positions as eligible for cuts, nearly half of its workforce. Dkt. No. 37-8 (“Decl. Braden AFGE”)

                                  24   ¶ 12, Ex. A. The National Oceanic and Atmospheric Administration is reportedly preparing a RIF

                                  25   to reduce its workforce by more than half. Dkt. No. 37-40 (“Decl. Molvar WWP”) ¶ 23. Reports

                                  26   also suggest that HUD is preparing to cut half of its staff and close many field offices. Decl. Bobbitt

                                  27   AFGE ¶¶ 9, 11, Exs. A, B. Department of Labor management have said internally that they intend

                                  28   to cut the agency’s headquarters staff by 70%. Dkt. No. 37-16 (“Decl. Gamble AFGE”) ¶ 12.
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                                   1   Reports suggest the Internal Revenue Service in the Department of the Treasury plans to cut 40%

                                   2   of its staff. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶ 10. The VA is planning to cut 83,000 positions.

                                   3   Dkt. No. 37-5 (“Decl. Bailey SEIU”) ¶ 12. AmeriCorps sent an email to employees announcing a

                                   4   reorganization that will cut more than half of its workers. Dkt. No. 37-12 (“Decl. Daly AFSCME”)

                                   5   ¶ 14, Ex. A. NSF has been directed to cut about half of its 1,700 staff. Dkt. No. 37-32 (“Decl.

                                   6   Soriano AFGE”) ¶¶ 9-10, Ex. A. The SBA announced it planned to cut its workforce by more than

                                   7   40%. Dkt. No. 37-18 (“Decl. Gustafsson AFGE”) ¶ 6, Ex. A.

                                   8

                                   9   IV.      Plaintiffs

                                  10            The union plaintiffs in this case consist of the American Federation of Government

                                  11   Employees (AFGE) and four of its locals (Local 1122, Local 1236, Local 2110, and Local 3172),

                                  12   the American Federation of State County and Municipal Employees (AFSCME), and the Service
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                                  13   Employees International Union (SEIU) and one of its locals (Local 1000). Eleven membership-

                                  14   based non-profit organizations have joined the unions as co-plaintiffs: Alliance for Retired

                                  15   Americans, American Geophysical Union, American Public Health Association, Center for

                                  16   Taxpayer Rights, Coalition to Protect America’s National Parks, Common Defense Civic

                                  17   Engagement, Main Street Alliance, Natural Resources Defense Council, Northeast Organic Farming

                                  18   Association, VoteVets Action Fund, and Western Watersheds Project. Six local governments have

                                  19   also joined the suit: Santa Clara County, CA; King County, WA; Baltimore, MD; Harris County,

                                  20   TX; Chicago, IL; and San Francisco, CA.

                                  21            The plaintiffs in this action are discussed more fully in the Court’s consideration of standing

                                  22   below.

                                  23

                                  24   V.       Procedural History

                                  25            Plaintiffs filed their complaint on Monday, April 28, 2025. Dkt. No. 1. The complaint

                                  26   alleges that President Trump’s Executive Order 14210 is ultra vires and usurps Congressional

                                  27   authority, in violation of the Constitution’s separation of powers (Claim One); that OMB, OPM, and

                                  28   DOGE also acted ultra vires or beyond their authority in directing agencies to submit ARRPs and
                                                                                          9
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                                   1   engage in RIFs (Claim Two); that the February 26, 2025 memo violated the Administrative

                                   2   Procedure Act in several ways (Claims Three through Five); and that the federal agency defendants’

                                   3   ARRPs also violate the Administrative Procedure Act (Claims Six and Seven).

                                   4           On Thursday, May 1, 2025, plaintiffs filed a motion for a temporary restraining order. Dkt.

                                   5   No. 37 (“Mot.”). Per the Court’s schedule, defendants filed an opposition on Wednesday, May 7,

                                   6   2025, and plaintiffs filed a reply the following day. Dkt. Nos. 60 (“Opp’n”), 70 (“Reply”). The

                                   7   Court has received several briefs from amici curiae. Dkt. Nos. 51, 69, 71, 75. The Court heard oral

                                   8   arguments on the motion on Friday, May 9, 2025.

                                   9

                                  10                                           LEGAL STANDARD

                                  11           A party may seek a temporary restraining order (TRO) to preserve the status quo and prevent

                                  12   irreparable harm until a preliminary injunction hearing may be held. Reno Air Racing Ass’n, Inc. v.
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                                  13   McCord, 452 F.3d 1126, 1131 (9th Cir. 2006) (citing Granny Goose Foods, Inc. v. Teamsters, 415

                                  14   U.S. 423, 438-39 (1974)); Fed. R. Civ. P. 65(b). The standard for evaluating a TRO is “substantially

                                  15   identical” to the standard for evaluating injunctive relief. Babaria v. Blinken, 87 F.4th 963, 976 (9th

                                  16   Cir. 2023), cert. denied sub nom. Babaria v. Jaddou, 145 S. Ct. 160 (2024) (internal quotation marks

                                  17   and citations omitted).

                                  18           “[I]njunctive relief [is] an extraordinary remedy that may only be awarded upon a clear

                                  19   showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, 555 U.S. 7,

                                  20   22 (2008). In order to obtain a preliminary injunction, the plaintiff “must establish that he is likely

                                  21   to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

                                  22   relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.”

                                  23   Id. at 20 (citations omitted). When the nonmoving party is the government, the final two factors

                                  24   merge. Baird v. Bonta, 81 F.4th 1036, 1040 (9th Cir. 2023) (citing Nken v. Holder, 556 U.S. 418,

                                  25   435 (2009)).

                                  26           Alternatively, under the “serious questions” test, the plaintiff may demonstrate “that serious

                                  27   questions going to the merits were raised and the balance of hardships tips sharply in the plaintiff’s

                                  28   favor,” so long as the other two Winter factors are also met. All. for the Wild Rockies v. Cottrell,
                                                                                          10
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                                   1   632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal quotation marks and citation omitted). This

                                   2   formulation recognizes a sliding scale approach, where “a stronger showing of one element may

                                   3   offset a weaker showing of another.” Id. at 1131, 1134-35.

                                   4

                                   5                                             DISCUSSION

                                   6   I.     Timing

                                   7          To start, the Court addresses defendants’ argument that plaintiffs’ motion for a temporary

                                   8   restraining order should be denied because it was brought too late after the Executive Order was

                                   9   filed and the OMB/OPM Memorandum issued. Opp’n at 19-22. Defendants’ argument is not well-

                                  10   taken. The details of the ARRPs have only trickled into public view due to defendants’ ongoing

                                  11   decision not to release the plans publicly. Moreover, in a case where other plaintiffs challenged

                                  12   Executive Order 14210 shortly after it was issued, as defendants suggests plaintiffs here should have
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                                  13   done, the government’s attorneys argued that plaintiffs’ harm was too “speculative” to establish

                                  14   injury. See Nat’l Treasury Emps. Union v. Trump, No. 25-CV-420 (CRC), Dkt. No. 14 at 10-11

                                  15   (D.D.C. filed Feb. 17, 2025). Defendants cannot have it both ways. The Court finds that plaintiffs

                                  16   reasonably waited to gather what information they could about the harm they may suffer from the

                                  17   Executive Order, the OMB/OPM Memorandum, and the ARRPs.

                                  18
                                  19   II.    Standing

                                  20          Federal courts may only hear a case if plaintiffs can show they have standing to sue. Spokeo,

                                  21   Inc. v. Robins, 578 U.S. 330, 338 (2016, revised May 24, 2016). “As a general rule, in an injunctive

                                  22   case this court need not address standing of each plaintiff if it concludes that one plaintiff has

                                  23   standing.” Nat’l Ass’n of Optometrists & Opticians LensCrafters, Inc. v. Brown, 567 F.3d 521, 523

                                  24   (9th Cir. 2009).

                                  25          To establish standing to sue, plaintiffs must show an injury, trace that injury to the

                                  26   defendants’ conduct, and prove that courts can provide adequate redress for the injury. Lujan v.

                                  27   Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The injury “must be concrete, particularized, and

                                  28   actual or imminent.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation
                                                                                        11
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                                   1   marks and citation omitted). To be imminent, a threatened injury must be “certainly impending”—

                                   2   “allegations of possible future injury are not sufficient.” Id. (internal quotation marks, brackets, and

                                   3   citations omitted). Plaintiffs cannot base standing on a theory of harm that “relies on a highly

                                   4   attenuated chain of possibilities.” Id. at 410. The standing inquiry must be “rigorous” where the

                                   5   court faces claims that Congress or the executive branch has acted unconstitutionally. Id. at 408.

                                   6           Organizational plaintiffs such as trade unions or membership-based non-profit organizations

                                   7   have two paths to establishing standing. “[A]n association has standing to bring suit on behalf of

                                   8   its members when: (a) its members would otherwise have standing to sue in their own right; (b) the

                                   9   interests it seeks to protect are germane to the organization’s purpose; and (c) neither the claim

                                  10   asserted nor the relief requested requires the participation of individual members in the lawsuit.”

                                  11   Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Organizations without

                                  12   formal members may achieve associational standing if they are “the functional equivalent of a
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                                  13   membership organization.” Fund Democracy, LLC v. S.E.C., 278 F.3d 21, 25 (D.C. Cir. 2002)

                                  14   (citing Hunt, 432 U.S. at 342-45).

                                  15           Injury may come in many forms. The threat of a pending job loss constitutes a concrete

                                  16   economic injury. Am. Fed’n of Lab. v. Chertoff, 552 F. Supp. 2d 999, 1014 (N.D. Cal. 2007). The

                                  17   possible loss of federal funding is also sufficient to establish injury. Nat’l Urb. League v. Ross, 508

                                  18   F. Supp. 3d 663, 688 (N.D. Cal. 2020). A failure to provide relevant information can constitute

                                  19   injury where one might be entitled to such information. Fed. Election Comm’n v. Akins, 524 U.S.

                                  20   11, 20 (1998). While the Ninth Circuit has held an organization can meet the injury requirement by

                                  21   showing it had to divert resources to fight a problem affecting the organization, La Asociacion de

                                  22   Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010), the

                                  23   Supreme Court recently rejected organizations seeking standing “simply by expending money to

                                  24   gather information and advocate against the defendant’s action,” Food & Drug Admin. v. All. for

                                  25   Hippocratic Med., 602 U.S. 367, 394 (2024).

                                  26           With this framework in mind, the Court now turns to the question of standing as applied to

                                  27   plaintiffs in this case. Since the Court need not address the standing of each plaintiff to proceed as

                                  28   long as it finds standing for at least one plaintiff, it limits its discussion below.
                                                                                           12
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                                   1

                                   2          A.      Injury

                                   3          The numerous plaintiffs in this case can be divided into three general groups, each with its

                                   4   own set of alleged injuries.

                                   5

                                   6                  1.       Union Plaintiffs

                                   7          In the declarations filed in support of their motion for a temporary restraining order, the

                                   8   union plaintiffs assert the following categories of harm.

                                   9          First, and perhaps most obviously, they assert injury on behalf of their federal employee

                                  10   members who have received RIF notices or suffer under the looming threat of such notices. Second,

                                  11   they contend that their federal employees who are not let go will be injured by significantly increased

                                  12   workloads. Third, they assert injury to the unions themselves, in the form of “thousands of hours”
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                                  13   of diverted staff resources and the loss in dues revenue that will result from the loss of employee

                                  14   members. See, e.g., Dkt. No. 37-23 (“Decl. Kelley AFGE”) ¶¶ 12-13, 15, 20.

                                  15          The unions also assert injury on behalf of their non-federal employee members who stand to

                                  16   lose their jobs as a result of federal workforce reductions. For example, SEIU represents 6,000

                                  17   federal contract workers at facilities that may face closure in the wake of staff reductions. Dkt. No.

                                  18   37-3 (“Decl. Adler SEIU”) ¶¶ 4, 9. These workers have lost their jobs during government

                                  19   shutdowns, or in the recent contested closure of the U.S. Institute of Peace facility. Id. ¶¶ 5, 7.

                                  20   Similarly, if staff reductions lead to the delay in processing of Medicare enrollment or other federal

                                  21   fund sources like grant payments, union members that work in sectors that depend on these revenue

                                  22   streams face layoffs. As just two provided examples, AFSCME members work in local housing

                                  23   authorities and local transit agencies that rely on a steady stream of federal funding. Dkt. No. 41-5

                                  24   (“Decl. O’Brien AFSCME”) ¶¶ 39-40, 45-46.

                                  25          In response, defendants first argue that the unions do not show that a specific federal

                                  26   employee has been harmed or will imminently be harmed. Opp’n at 32 (citing Summers v. Earth

                                  27   Island Inst., 555 U.S. 488, 499 (2009)). Defendants are factually mistaken and overstate their legal

                                  28   case. Factually, multiple declarants have asserted personal harm. See, e.g., Decl. Fabris AFGE ¶ 10
                                                                                         13
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                                   1   (declarant received RIF notice); Dkt. No. 37-24 (“Decl. Levin AFGE”) ¶¶ 14-15 (declarant placed

                                   2   on same-day administrative leave); Decl. Bobbit AFGE, Ex. D (declarant received and provided

                                   3   redacted list of employees in RIF notice). As to the doctrine, the Court in Summers wanted to ensure

                                   4   that injury had been specifically established by sworn affidavits. The Ninth Circuit has later

                                   5   clarified that naming individuals is not necessary “when it is clear and not speculative that a member

                                   6   of a group will be adversely affected by a challenged action and a defendant does not need to know

                                   7   the identity of a particular member to defend against an organization’s claims.” Mi Familia Vota v.

                                   8   Fontes, 129 F.4th 691, 708 (9th Cir. 2025). It is not speculative here that the union’s members are

                                   9   being harmed by defendants’ challenged actions.

                                  10          The unions also establish standing as organizations representing federal employees based on

                                  11   impending direct financial harm to their organizations in the form of lower membership numbers

                                  12   and lower dues.
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                                  13          SEIU has also established standing based on the federal contract workers that it represents.

                                  14   These workers have lost their jobs when federal facilities close. Decl. Adler SEIU ¶¶ 5, 7. The

                                  15   ARRPs are likely to result in the closure of more federal facilities,5 and when that happens SEIU’s

                                  16   contract workers will lose their jobs. This is not like the attenuated five-link chain of cascading

                                  17   events in Clapper—given the breadth of the RIFs that have been announced, these injuries are

                                  18   “certainly impending.” See Clapper, 568 U.S. at 410. AFSCME also represents non-federal

                                  19   employee workers who rely on the federal workforce to process grants to support their work. In the

                                  20   Department of Energy’s Weatherization Assistance Program, reports indicate the number of federal

                                  21   staff will decrease by 75%. Dkt. No. 37-15 (“Decl. Gabel AFSCME”) ¶ 11. If or when these cuts

                                  22   are implemented, AFSCME workers at a non-profit supported by this program will find it

                                  23   “extremely challenging to get the necessary grant money to operate, and layoffs . . . are almost

                                  24   certain.” Id. ¶ 12. While slightly more attenuated than the contract workers’ basis for standing, the

                                  25   Court finds that these facts support an independent basis for standing as well.

                                  26
                                  27
                                              5
                                                One of the principles to inform the ARRPs, per the OMB/OPM Memorandum, is “[a]
                                  28   reduced real property footprint.” OMB/OPM Memo at 2.
                                                                                        14
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                                   1           Defendants also challenge whether the employees who will be saddled with more work will

                                   2   have experienced a concrete harm. Opp’n at 33. The Court need not decide at this stage whether

                                   3   this type of injury is sufficient for standing.

                                   4

                                   5                   2.      Non-Profit Plaintiffs

                                   6           All of these non-profit organizations except for the Natural Resources Defense Council have

                                   7   submitted declarations that detail the harms that significant federal workforce reductions impose

                                   8   upon their members or the organizations themselves. Two consistent themes emerge from these

                                   9   declarations.   First, the organizations’ members benefit from services provided by federal

                                  10   employees, but significant staffing reductions across various agencies impact their ability to

                                  11   continue to benefit. Second, many of the organizations assert that they have had to divert resources

                                  12   away from their primary mission to respond to the impact of federal staffing cuts on their members.
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                                  13           As defendants note, the diversion of resources theory rests on shakier ground after Food &

                                  14   Drug Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367, 394 (2024).6 But at least

                                  15   some of the organization plaintiffs establish injury on other bases. For example, the American

                                  16   Geophysical Union attests that implementation of ARRPs will cause the organization to lose

                                  17   membership, publication authors, and conference attendees, resulting in a loss of revenue to the

                                  18   organization. Dkt. No. 37-45 (“Decl. Shultz AGU”) ¶¶ 9, 28-29. Based on its past experience, the

                                  19   Center for Taxpayer Rights suggests that its low-income members will see delays to the processing

                                  20   of refunds that they rely on for day-to-day expenses. Dkt. No. 37-42 (“Decl. Olson CTR”) ¶¶ 35-

                                  21   37. The Executive Director of the Western Watersheds Project finds personal enjoyment from

                                  22   visiting the Arctic grayling in its natural habitat, an enjoyment threatened by further cuts to the

                                  23   agency currently working on Endangered Species Act findings for that species. Dkt. No. 37-40

                                  24   (“Decl. Molvar WWP”) ¶¶ 15-18. Harm that “affects the recreational or even the mere esthetic

                                  25

                                  26
                                               6
                                               The Supreme Court there denied standing when plaintiff organizations incurred costs
                                  27   opposing the government’s actions but explained that organizations have standing when a
                                       defendant’s acts “directly affected and interfered with [plaintiff’s] core business activities.” Food
                                  28   & Drug Admin. v. All. for Hippocratic Med., 602 U.S. at 395.
                                                                                         15
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                                   1   interests of the plaintiff . . . will suffice” for standing. Summers, 555 U.S. at 494 (citing Sierra Club

                                   2   v. Morton, 405 U.S. 727, 734-736 (1972).

                                   3           The Court finds these types of harm sufficient to establish injury. None are as attenuated as

                                   4   the causal chain of events leading to potential injury in Clapper. The Court reserves a full discussion

                                   5   of standing for each plaintiff for a later stage.

                                   6

                                   7                   3.      Local Government Plaintiffs

                                   8           To establish standing, a local government must assert a harm to its own “proprietary

                                   9   interests,” which “are as varied as a municipality’s responsibilities, powers, and assets.” City of

                                  10   Sausalito v. O’Neill, 386 F.3d 1186, 1197 (9th Cir. 2004). Proprietary interests include a local

                                  11   government’s ability to enforce regulations, its ability to collect revenue, and its ability to protect

                                  12   its natural resources. Id. at 1198.
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                                  13           The local government plaintiffs assert that large-scale reductions in the federal workforce

                                  14   will jeopardize the timely delivery of many different federal funding streams that their budgets rely

                                  15   on. Baltimore also asserts a more direct financial injury in the form of lost municipal tax revenues,

                                  16   given that 12,400 city residents are (or were) federal employees. Dkt. No. 37-54 (“Decl. Leach—

                                  17   Baltimore”) ¶¶ 5-8. The local governments also contend that they will be forced to expend more

                                  18   resources in the absence of federal support, in areas like fighting wildfires or the provision of shelter

                                  19   to the unhoused.

                                  20           The Court finds the local governments have standing on the basis of impending financial

                                  21   harm. For example, King County has a budget that includes more than $200 million in federal

                                  22   revenue for its operating budgets, and $500 million in federal funds in its capital budget for 2025.

                                  23   Dkt. No. 41-6 (“Decl. Dively—King County”) ¶¶ 6, 8. The county communicates with staff across

                                  24   multiple federal agencies to process grants and permits for capital projects; any delay in these

                                  25   communications delays projects and increases costs. Id. ¶¶ 22, 26, 31, 33, 38. With large-scale

                                  26   RIFs happening across agencies, such delay is likely.7 As another example, Harris County Public

                                  27

                                  28
                                               7
                                                 As one example, the County believes the closure of HUD’s regional office in Seattle will
                                       result in delays in disbursement of the County’s $47 million in federal grant funds. Decl. Dively—
                                                                                        16
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                                   1   Health receives grants from the CDC, but has begun to experience a delay in communication after

                                   2   HHS initiated its RIF. Dkt. No. 37-46 (“Decl. Barton—Harris County”) ¶¶ 23, 26.

                                   3          Finding the above sufficient to establish standing for at least some of the local governments,

                                   4   the Court reserves a fuller analysis for another day.

                                   5

                                   6                  4.      Procedural Injury

                                   7          Lastly, plaintiffs across all of the above categories assert a procedural injury for their notice-

                                   8   and-comment claims, because they contend they would have submitted comments had they been

                                   9   given a chance. See, e.g., Dkt. No. 37-31 (“Decl. Soldner AFGE”) ¶ 27. Some explained that they

                                  10   provided comments in response to notices about similar proposals during President Trump’s first

                                  11   administration. See, e.g., id.

                                  12          A procedural injury must be related to a plaintiff’s concrete interests. Summers, 555 U.S. at
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                                  13   496. As a collection of plaintiffs have established standing based on harm to their concrete interests,

                                  14   the plaintiffs also have standing to challenge a lack of notice and comment procedures.

                                  15

                                  16          B.      Causation and Redressability8

                                  17          The plaintiffs challenge three layers of action: the president’s executive order, the

                                  18   OMB/OPM Memorandum issued pursuant to the executive order, and the agency ARRPs submitted

                                  19   pursuant to the memorandum. The harm experienced by plaintiffs or imminently threatening them

                                  20   comes from the reorganizations and RIFs established by the ARRPs. As many declarants have

                                  21   offered, the agencies had not talked about large-scale RIFs or reorganizations prior to President

                                  22   Trump’s executive order. See, e.g., Decl. Bailey SEIU ¶ 10; Decl. Garthwaite AFGE ¶ 6. These

                                  23   harms are fairly traceable to defendants’ actions at all three levels; beyond the defendants, there are

                                  24   no intervening actors causing these harms. See Lujan, 504 U.S. at 560.

                                  25          Finally, the Court can redress the harms by vacating the unlawful actions as allowed by the

                                  26
                                  27   King County ¶¶ 37-38.
                                              8
                                                Defendants do not specifically challenge causation or redressability in their opposition, but
                                  28   the Court must complete the standing inquiry regardless.
                                                                                         17
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                                   1   APA and Supreme Court precedent.

                                   2

                                   3          C.      Conclusion as to Standing

                                   4           At this stage, the Court finds at least some collection of the plaintiffs have sufficient

                                   5   standing to bring their claims.

                                   6

                                   7   III.   Subject Matter Jurisdiction—Thunder Basin Preclusion

                                   8          Courts generally have jurisdiction under 28 U.S.C. § 1331 to review federal government

                                   9   actions. Califano v. Sanders, 430 U.S. 99, 105 (1977). But Congress sometimes precludes district

                                  10   court review “by specifying a different method to resolve claims about agency action,” Axon Enter.,

                                  11   Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 185 (2023), often through channeling review to an

                                  12   adjudicative body within an agency. In determining whether Congress has removed district court
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                                  13   jurisdiction, courts ask two questions: whether “the ‘statutory scheme’ displays a ‘fairly discernible’

                                  14   intent to limit jurisdiction” and whether “the claims at issue ‘are of the type Congress intended to

                                  15   be reviewed within th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,

                                  16   561 U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)).

                                  17          When examining the second question—whether the particular claims should be channeled

                                  18   to agency review—courts consider three factors from Thunder Basin: “First, could precluding

                                  19   district court jurisdiction foreclose all meaningful judicial review of the claim? Next, is the claim

                                  20   wholly collateral to the statute’s review provisions? And last, is the claim outside the agency’s

                                  21   expertise?” Axon, 598 U.S. at 186 (internal quotation marks, brackets, and citations omitted).

                                  22   Affirmative answers to these questions suggest that Congress did not intend to limit jurisdiction,

                                  23   “[b]ut the same conclusion might follow if the factors point in different directions.” Id. Together,

                                  24   these factors recognize that agency action should rarely evade effective judicial review, but

                                  25   channeling from a district court to an agency adjudication may be appropriate “in the matters [an

                                  26   agency] customarily handles, and can apply distinctive knowledge to.” Id.

                                  27          Defendants argue that the Federal Service Labor-Management Relations Statute and the

                                  28   Civil Service Reform Act of 1978 preclude district court jurisdiction over plaintiffs’ claims. Opp’n
                                                                                         18
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                                   1   at 23-31. The Federal Service Labor-Management Relations Statute established a Federal Labor

                                   2   Relations Authority to resolve issues related to collective bargaining between federal employee

                                   3   unions and their employers, including “issues relating to the granting of national consultation

                                   4   rights,” “issues relating to determining compelling need for agency rules or regulations,” “issues

                                   5   relating to the duty to bargain in good faith,” and “complaints of unfair labor practices.” 5 U.S.C.

                                   6   § 7105(a)(2). In passing the statute, Congress specified that its provisions “should be interpreted in

                                   7   a manner consistent with the requirement of an effective and efficient Government.” Id. § 7101(b).

                                   8   The Civil Service Reform Act provides a mechanism for employees who have suffered an adverse

                                   9   action to appeal to the Merit Systems Protection Board. 5 U.S.C. §§ 7512, 7513(d); see also 5

                                  10   U.S.C. § 1204 (delineating functions of the Board). The Civil Service Reform Act of 1978 excluded

                                  11   reductions in force from the definition of “adverse action” appealable to the Board. 5 U.S.C.

                                  12   § 7512(B); 5 C.F.R. § 752.401(b)(3). However, per federal regulations issued by OPM, employees
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                                  13   who have been furloughed, separated or demoted by a reduction in force can appeal to the Board. 5

                                  14   C.F.R. § 351.901.9 Judicial review of final orders of both the Authority and the Board is available

                                  15   at circuit courts. 5 U.S.C. §§ 7703, 7123(a).

                                  16          Defendants’ opposition cites to courts across the country that have begun to address this

                                  17   question in the context of similar claims. On February 12, 2025, a District of Massachusetts court

                                  18   declined to enjoin enforcement of the deadline for opting into a deferred resignation program. Am.

                                  19   Fed’n of Gov’t Emps., AFL-CIO v. Ezell, No. CV 25-10276-GAO, 2025 WL 470459, at *1-3 (D.

                                  20   Mass. Feb. 12, 2025). The court determined the plaintiff unions lacked standing and that the claims

                                  21   were precluded by the Federal Service Labor-Management Relations Statute and the Civil Service

                                  22   Reform Act of 1978, which establish “exclusive procedures for disputes involving employees and

                                  23   their federal employers and disputes between unions representing federal employees and the federal

                                  24   government.” Id.

                                  25          In a February 20, 2025 ruling, a D.C. district court denied a temporary restraining order and

                                  26
                                  27
                                              9
                                               As defendants’ opposition notes, some employees may be precluded from appealing to the
                                  28   Board under the terms of their collective bargaining agreements. Opp’n at 9 n.4.
                                                                                        19
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                                   1   preliminary injunction because it found that the union plaintiffs were precluded by the Federal

                                   2   Service Labor-Management Relations Statute under Thunder Basin. Nat’l Treasury Emps. Union

                                   3   v. Trump, No. 25-CV-420 (CRC), 2025 WL 561080, at *8 (D.D.C. Feb. 20, 2025). There, the

                                   4   plaintiffs sought to prevent the termination of probationary employees, anticipated large-scale RIFs,

                                   5   and any renewal of deferred resignation programs. Id. at *1. The court determined that the unions’

                                   6   claimed injuries—financial harm and loss of bargaining power—could be meaningfully reviewed

                                   7   through the Federal Labor Relations Authority, even though that body could not resolve the unions’

                                   8   constitutional claims. Id. at *6-7. The constitutional question could be revived in an appeal of the

                                   9   FLRA’s decision. Id. at * 7.

                                  10          The next day, February 21, 2025, another D.C. district court rejected the injunctive relief

                                  11   requested by two employee unions that sought to pause the administration’s attempt to dismantle

                                  12   the U.S. Agency for International Development. Am. Foreign Serv. Ass’n v. Trump, No. 1:25-CV-
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                                  13   352 (CJN), 2025 WL 573762, at *1 (D.D.C. Feb. 21, 2025). The court held that while “at a high

                                  14   level of generality and in the long run, plaintiffs’ assertions of harm could flow from their

                                  15   constitutional and APA claims regarding the alleged unlawful ‘dismantl[ing]’ of USAID,” the court

                                  16   noted that “the agency is still standing, and so the alleged injuries on which plaintiffs rely in seeking

                                  17   injunctive relief flow essentially from their members’ existing employment relationships with

                                  18   USAID.” Id. at *7. The court held that the Federal Service Labor-Management Relations Statute,

                                  19   the Civil Service Reform Act, and the Foreign Service Act of 1980 indicated that Congress intended

                                  20   for these types of claims to be channeled first to the administrative review offered by those statutory

                                  21   schemes. Id. at *8-10. The court noted that the Foreign Service Act’s scheme was “even broader”

                                  22   than the other two and reasoned that “plaintiffs have presented no irreparable harm they or their

                                  23   members are imminently likely to suffer from the hypothetical future dissolution of USAID” absent

                                  24   immediate judicial review. Id. The court concluded that it likely lacked jurisdiction, so plaintiffs

                                  25   were unlikely to succeed on the merits of their claims. Id. at *11.

                                  26          All three of the above opinions relied on American Federation of Government Employees,

                                  27   AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir. 2019). In that case, federal employee unions challenged

                                  28   executive orders regarding federal labor-management relations from President Trump’s first term.
                                                                                          20
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                                   1   Id. at 753. The orders directed federal agencies to remove certain subjects from labor negotiations,

                                   2   limit the time employees could spend on union affairs during their workday, and exclude disputes

                                   3   over for-cause terminations from grievance proceedings. Id. The appellate court determined that

                                   4   the unions’ claims—some of which asserted that the Executive Orders violated the Federal Service

                                   5   Labor-Management Relations Statute itself—must be channeled first to the Federal Labor Relations

                                   6   Authority. Id. at 753-54, 761.

                                   7          More recently, on April 22, 2025, in a case involving the administration’s attempt to

                                   8   dismantle the U.S. Agency for Global Media, the district court held that a conclusion that the claims

                                   9   at issue “boiled down to a quotidian employment dispute . . . would ignore the facts on the record

                                  10   and on the ground.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL, 2025 WL 1166400, at *11

                                  11   (D.D.C. Apr. 22, 2025). The district court determined that the administrative tribunals “have no

                                  12   jurisdiction to review the cancelation of congressional appropriations” and that the case involved
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                                  13   administrative and constitutional law issues, separate from federal employment questions. Id. at

                                  14   *11 n.22. On appeal, however, a majority opinion from the D.C. Circuit determined that “[t]he

                                  15   ‘dismantling’ that plaintiffs allege is a collection of ‘many individual actions’ that cannot be

                                  16   packaged together and ‘laid before the courts for wholesale correction under the APA.’”

                                  17   Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *3 (D.C. Cir. May 3, 2025) (citation

                                  18   omitted).

                                  19          Finally, Judge Alsup of this district found that federal employee unions’ challenge to the

                                  20   OPM directive to agencies to terminate probationary employees should not be precluded based on

                                  21   the Thunder Basin analysis. Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 3:25-cv-01780-

                                  22   WHA, 2025 WL 900057 (N.D. Cal. Mar. 24, 2025).10 First, the court decided that the ultra vires

                                  23   and APA claims in that case would not benefit from the administrative expertise of the Federal

                                  24   Labor Relations Authority or the Merit Systems Protection Board. Id. at 3-4. It also found the

                                  25   claims collateral to the review authority of those agencies, because the claims challenged executive

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                                  27
                                              10
                                                 The district court reversed its earlier decision finding preclusion under Thunder Basin,
                                  28   upon further briefing.
                                                                                        21
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                                   1   power, not a specific personnel action. Id. at 5. Lastly, it determined that the district court offered

                                   2   the only opportunity for meaningful judicial review. Id. at 6. The court noted that probationary

                                   3   employees could not appeal a decision to the Merit Systems Protection Board and distinguished the

                                   4   claims in this case from the bargaining-related issues sent to the Federal Labor Relations Authority

                                   5   in American Federation of Government Employees, AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir.

                                   6   2019). Id. at 7-8.11

                                   7

                                   8          A.      Federal Employee Union Plaintiffs

                                   9          The Court starts its analysis with the union plaintiffs. The Court agrees with Judge Alsup in

                                  10   this district that the D.C. Circuit’s 2019 decision in AFGE v. Trump is not particularly helpful to

                                  11   resolving the claims channeling question here. In that case, the claims involved executive orders

                                  12   that touched directly on matters related to collective bargaining, which are central to the purpose of
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                                  13   the Federal Labor Relations Authority. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929

                                  14   F.3d at 753-54, 761. To the extent that other recent orders rely on the 2019 opinion, the Court

                                  15   disagrees with their reasoning. Here, the claims are far afield from the central concerns of the

                                  16   Federal Labor Relations Authority, see 5 U.S.C. § 7105(a)(2), instead touching on fundamental

                                  17   questions of executive authority and separation of powers.

                                  18          Defendants’ opposition also cites two fresh opinions from the Fourth Circuit and the D.C.

                                  19   Circuit that found it likely that plaintiffs with similar claims to those here would ultimately be

                                  20   channeled to administrative review schemes. Opp’n at 24-25 (citing Widakuswara v. Lake, No. 25-

                                  21   5144, 2025 WL 1288817 (D.C. Cir. May 3, 2025); Maryland v. U.S. Dep’t of Agriculture, No. 25-

                                  22   1248, 2025 WL 1073657 (4th Cir. Apr. 9, 2025)). When considering out-of-circuit authority, the

                                  23   Court looks to its persuasive value. See Jones v. PGA TOUR, Inc., 668 F. Supp. 3d 907, 917 (N.D.

                                  24

                                  25          11
                                                 The preliminary injunction in Judge Alsup’s case is currently on appeal. On April 8, 2025,
                                       the Supreme Court granted the government’s application for an emergency stay of the injunction
                                  26   pending appeal, stating that the non-profit organization plaintiffs on whose claims the original
                                       injunction was based had not sufficiently shown standing. OPM v. AFGE, --- S. Ct. ----, No.
                                  27   24A904, 2025 WL 1035208, at *1 (S. Ct. Apr. 8, 2025) (citing Clapper). On return to the district
                                       court, the case proceeded and the court granted relief as to the claims of the plaintiff unions and the
                                  28   State of Washington.
                                                                                         22
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                                   1   Cal. 2023). Tthe Fourth Circuit offers no reasoning for its conclusion that the district court lacked

                                   2   jurisdiction, and this Court finds the dissenting opinion in that case more robust and more

                                   3   persuasive.     The D.C. Circuit provides slightly more (two paragraphs) on the question of

                                   4   jurisdiction, but again the dissenting judge in that case centered the claims in the appropriate

                                   5   context—the comprehensive dismantling of an entire agency—far more concretely and persuasively

                                   6   than the panel majority.

                                   7            The Court now moves to its own application of Thunder Basin. Recognizing, as other courts

                                   8   have, that the Federal Service Labor-Management Relations Statute and the Civil Service Reform

                                   9   Act indicate an intent to limit jurisdiction in some instances, the Court turns to the second inquiry:

                                  10   “whether the claims at issue are of the type Congress intended to be reviewed within the statutory

                                  11   structure.” Free Enter. Fund, 561 U.S. at 489 (internal quotation marks, brackets, and citation

                                  12   omitted). The Court concludes the answer is no. To explain, the Court examines each of the three
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                                  13   Thunder Basin factors in turn, all three of which favor a finding of subject matter jurisdiction in this

                                  14   Court.

                                  15            First, precluding district court jurisdiction for the union plaintiffs at this time would foreclose

                                  16   meaningful judicial review. Plaintiffs seek an opportunity to challenge “large-scale reductions in

                                  17   force” happening rapidly across multiple agencies in the federal government. In some offices or

                                  18   agencies, nearly all employees are receiving RIF notices. Defendants contend that plaintiffs must

                                  19   take their concerns to what can be a prolonged administrative process and then appeal to present

                                  20   their constitutional claim in federal court. By that point, if they prevailed, they “would return to an

                                  21   empty agency with no infrastructure” to support a resumption of their work. See Widakuswara,

                                  22   2025 WL 1166400, at *11 n.22.

                                  23            Second, the claims at issue here are wholly collateral to the review authority of the Federal

                                  24   Labor Relations Authority and the Merit Systems Protection Board. As noted above, this lawsuit

                                  25   involves questions of constitutional and statutory authority and the separation of powers. Federal

                                  26   employees are simply the ones to suffer most immediately the collateral damage of allegedly

                                  27   unlawful actions. In other words, “[t]he plaintiffs in this lawsuit challenge the evisceration of their

                                  28   jobs only insofar as it is the means by which they challenge defendants’ unlawfully halting the work
                                                                                            23
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                                   1   of [their offices or agencies] and shutting [them] down.” See Widakuswara, 2025 WL 1288817, at

                                   2   *8 (Pillard, J., dissenting). Moreover, employees’ rights to appeal a RIF to the Merit Systems

                                   3   Protection Board comes not directly from statute but from regulation. See 5 C.F.R. § 351.901;12 see

                                   4   also 5 U.S.C. § 7512(B) (excluding reductions in force from the review provisions for “adverse

                                   5   actions”).13 When Congress did not directly specify Board review for reductions-in-force claims, it

                                   6   seems unlikely that Congress intended the Merit Systems Protection Board to be the exclusive

                                   7   avenue for such claims, let alone claims that involve broader questions about constitutional and

                                   8   administrative law. The same holds true for the Federal Labor Relations Authority—Congress

                                   9   desired that body’s enabling statute to be interpreted “in a manner consistent with the requirement

                                  10   of an effective and efficient Government.” 5 U.S.C. § 7101(b). There is nothing efficient about

                                  11   sending constitutional claims to a body that cannot decide them, only to wait for an opportunity to

                                  12   appeal.14
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                                  13          Third, the claims here involve issues related to the appropriate distribution of authority to

                                  14   and within the executive branch, not the individual employee or labor disputes these two

                                  15   administrative bodies customarily handle.         As the Supreme Court has repeated, “agency

                                  16   adjudications are generally ill suited to address structural constitutional challenges.” Axon, 598 U.S.

                                  17   at 195. Neither the Merit Systems Protection Board nor the Federal Labor Relations Authority have

                                  18
                                  19          12
                                                  5 U.S.C. § 7701 arguably provides indirect statutory authority with its rather circular
                                       proposition: “An employee, or applicant for employment, may submit an appeal to the Merit
                                  20   Systems Protection Board from any action which is appealable to the Board under any law, rule, or
                                       regulation.”
                                  21           13
                                                  Defendants’ opposition cites the adverse actions sections without noting that reductions
                                  22   in force are explicitly excluded from those provisions. Opp’n at 12.
                                              14
                                                  In Elgin v. Department of Treasury, the Supreme Court decided that there was no
                                  23   exception to Civil Service Reform Act exclusivity for constitutional challenges to federal statutes,
                                       in that case a statute that bars those who fail to register for the draft from federal employment. 567
                                  24   U.S. 1, 12 (2012). The Court held that plaintiffs were obliged to wait to present their constitutional
                                       claim to the Federal Circuit after proceeding through the Merit Systems Protection Board. Id. at 21.
                                  25   However, the Elgin plaintiffs sought to vindicate their own personal rights to employment. Here,
                                       the plaintiffs confront an issue much larger in scope: how to interpret the constitutional structure of
                                  26   the federal government. And while the Elgin plaintiffs were likely to have a job and an agency to
                                       return to in the event they eventually won their case after winding through two layers of
                                  27   administrative and judicial review, the same cannot be said in this case. See id. at 25 (Alito, J.,
                                       dissenting) (“I doubt that Congress intended to channel petitioners’ constitutional claims into an
                                  28   administrative tribunal that is powerless to decide them[.]”).
                                                                                         24
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                                   1   special expertise to bear on the questions in this suit.

                                   2

                                   3          B.      Other Plaintiffs

                                   4          The rest of the plaintiffs in this case, including the non-profit organizations, the local

                                   5   governments, and the unions in their capacity representing non-federal employees, do not have

                                   6   access to the Federal Labor Relations Authority or the Civil Service Reform Act. Even if the union

                                   7   plaintiffs should be channeled out of court—and this Court thinks they should not—the Thunder

                                   8   Basin factors weigh against claims channeling even more strongly when applied to these other

                                   9   plaintiffs. Defendants fail to show how the cases they cite—involving challenges by federal

                                  10   employees—support the channeling of constitutional and APA claims by non-federal employees,

                                  11   including federal contract workers, non-profit organizations on behalf of their members, or local

                                  12   governments. In U.S. v. Fausto, cited by both defendants and the amici states who filed a brief in
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                                  13   support of defendants, the Supreme Court held that a type of employee that received lesser privileges

                                  14   in the Civil Service Reform Act was not entitled to district court review that was denied to

                                  15   employees who had more privileges under the Act, because holding otherwise would have flipped

                                  16   the structural logic of the Act. 484 U.S. 439, 448-49 (1988). But the Civil Service Reform Act says

                                  17   nothing at all about non-federal employee unions, non-profit organizations, or local governments.

                                  18   The Court is not persuaded that, when Congress created the Merit Systems Protection Board or the

                                  19   Federal Labor Relations Authority, it intended for constitutional and APA claims by these sorts of

                                  20   plaintiffs to be precluded from federal court. See Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No.

                                  21   25-1677, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025) (in denying an application for an

                                  22   emergency stay, finding the government had not shown they are likely to establish that Congress

                                  23   intended to channel claims by non-profit organizations to the same administrative agencies).

                                  24

                                  25   IV.    Analysis of the Winter Factors

                                  26          The Court now proceeds to the Winter factors, examining whether plaintiffs have established

                                  27   they are likely to succeed on the merits, whether they are likely to suffer irreparable harm in the

                                  28   absence of preliminary relief, if the balance of equities tips in their favor, and whether an injunction
                                                                                          25
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                                   1   is in the public interest. See Winter, 555 U.S. at 22.

                                   2

                                   3          A.      Likelihood of Success on the Merits

                                   4                  1.      Ultra Vires

                                   5          Plaintiffs’ first and second claims for relief allege that Executive Order 14210, and the

                                   6   actions and orders of OMB, OPM, and DOGE to implement the Executive Order, violate the

                                   7   separation of powers and are therefore ultra vires.

                                   8          “When an executive acts ultra vires, courts are normally available to reestablish the limits

                                   9   on his authority.” Sierra Club v. Trump, 963 F.3d 874, 891 (9th Cir. 2020), vacated and remanded

                                  10   on other grounds, sub nom. Biden v. Sierra Club, 142 S. Ct. 46 (2021) (quoting Dart v. United States,

                                  11   848 F.2d 217, 223 (D.C. Cir. 1988)). The ability to enjoin unconstitutional action by government

                                  12   officials dates back to the courts of equity, “reflect[ing] a long history of judicial review of illegal
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                                  13   executive action, tracing back to England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320,

                                  14   327 (2015) (citing Jaffe & Henderson, Judicial Review and the Rule of Law: Historical Origins, 72

                                  15   L.Q. Rev. 345 (1956)). Where the President exceeds his authority, the district court may declare the

                                  16   action unlawful and an injunction may issue. Sierra Club, 963 F.3d at 891 (explaining that, in

                                  17   Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952), “The [Supreme] Court never

                                  18   questioned that it had the authority to provide the requested relief”).

                                  19

                                  20                          a.      Actions by President Trump

                                  21          Plaintiffs are likely to succeed on their claim that the President’s Executive Order 14210 is

                                  22   ultra vires, as the President has neither constitutional nor, at this time, statutory authority to

                                  23   reorganize the executive branch.

                                  24          “In the framework of our Constitution, the President’s power to see that the laws are

                                  25   faithfully executed refutes the idea that he is to be a lawmaker. The Constitution limits his functions

                                  26   in the lawmaking process to the recommending of laws he thinks wise and the vetoing of laws he

                                  27   thinks bad. And the Constitution is neither silent nor equivocal about who shall make laws which

                                  28   the President is to execute.” Youngstown, 343 U.S. at 587.
                                                                                         26
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                                   1          Article I of the U.S. Constitution vests in Congress the legislative power. U.S. Const. art. I,

                                   2   § 1. “To Congress under its legislative power is given the establishment of offices, [and] the

                                   3   determination of their functions and jurisdiction . . . .” Myers v. United States, 272 U.S. 52, 129

                                   4   (1926). “Congress has plenary power over the salary, duties, and even existence of executive

                                   5   offices.” Free Enter. Fund, 561 U.S. at 500 (emphasis added). While “[t]he President may create,

                                   6   reorganize, or abolish an office that he established,” the Constitution does not authorize him “to

                                   7   enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998)

                                   8   (emphasis added); see also Nat’l Fed’n of Indep. Bus. v. Dep’t of Labor, Occupational Safety &

                                   9   Health Admin., 595 U.S. 109, 117 (2022) (“Administrative agencies are creatures of statute.”).

                                  10          In 1952, the Supreme Court considered the validity of an Executive Order by President

                                  11   Truman, who ordered the Secretary of Commerce to seize most of the nation’s steel mills to prevent

                                  12   strikes from halting steel production during the Korean War. Youngstown, 343 U.S. at 582.
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                                  13   Although various statutes authorized the President to seize property under certain circumstances,

                                  14   none of the statutory conditions had been met, and so the President claimed the seizures were lawful

                                  15   pursuant to his constitutional authority. In reviewing whether the district court’s preliminary

                                  16   injunction to stop enforcement of the order was proper, the Supreme Court explained, “The

                                  17   President’s power, if any, to issue the order must stem either from an act of Congress or from the

                                  18   Constitution itself.” Id. at 585. Where President Truman lacked both constitutional and statutory

                                  19   authority to seize the steel mills, the Supreme Court affirmed the district court injunction.

                                  20          Youngstown applies here. Defendants do not claim that Executive Order 14210 issued under

                                  21   the President’s constitutional powers. Rather, they attempt to fit the President’s actions into existing

                                  22   statutory authority. Such statutory authority, however, is plainly lacking. The Ninth Circuit has

                                  23   explained,

                                  24          Justice Jackson’s Youngstown concurrence provides the operative test in this context:

                                  25                  When the President takes measures incompatible with the expressed
                                                      or implied will of Congress, his power is at its lowest ebb, for then he
                                  26                  can rely only upon his own constitutional powers minus any
                                                      constitutional powers of Congress over the matter. Courts can sustain
                                  27                  exclusive presidential control in such a case only by disabling the
                                                      Congress from acting upon the subject. Presidential claim to a power
                                  28                  at once so conclusive and preclusive must be scrutinized with caution,
                                                                                         27
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                                                      for what is at stake is the equilibrium established by our constitutional
                                   1                  system
                                   2
                                       City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1233 (9th Cir. 2018) (quoting Youngstown,
                                   3
                                       343 U.S. at 637-38 (Jackson, J., concurring)).
                                   4
                                              As history demonstrates, the President may broadly restructure federal agencies only when
                                   5
                                       authorized by Congress. “Although the U.S. Constitution vests in Congress the authority to organize
                                   6
                                       the Executive Branch,[] former presidential administrations have asked Congress to grant expedited
                                   7
                                       government reorganization authority to execute cross-agency government reorganizations more
                                   8
                                       efficiently.” S. Rep. No. 115-381, at 4 (2018). Since 1932, when President Hoover was the first
                                   9
                                       President to request and receive such reorganization authority, Congress has granted this authority
                                  10
                                       “16 times under both Republican and Democratic administrations[,]” to nine different Presidents.
                                  11
                                       Id.; John W. York & Rachel Greszler, A Model for Executive Reorganization, Heritage Found. Legal
                                  12
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                                       Memorandum          No.       4782,      at      3        (Nov.    3,     2017),       available      at:
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                                  13
                                       https://www.heritage.org/sites/default/files/2017-11/IB4782.pdf         [https://perma.cc/59KD-JVU5]
                                  14
                                       (hereinafter, “Heritage Found. Legal Memorandum No. 4782”). According to a Senate Report
                                  15
                                       issued during President Trump’s first term in office, “[b]etween 1932 and 1984, presidents submitted
                                  16
                                       126 reorganization proposals to Congress, of which 93 were implemented and 33 were affirmatively
                                  17
                                       rejected by Congress.” S. Rep. No. 115-381, at 4 (2018). The most recent statutory authorization
                                  18
                                       for a president to conduct a governmental reorganization expired December 31, 1984. Henry B.
                                  19
                                       Hogue, Cong. Rsch. Serv., R44909, Executive Branch Reorganization 6-7 & n.23 (2017)
                                  20
                                       (hereinafter, “CRS R44909”).
                                  21
                                              The brief of amicus curiae Constitutional Accountability Center recounts the long history of
                                  22
                                       Congress exercising its “power to restructure and abolish federal agencies as it finds necessary . . . .”
                                  23
                                       Dkt. No. 51-1 at 6-9. Defendants’ opposition brief also recounts this long history, which supports
                                  24
                                       the proposition that large-scale reorganization of the federal agencies stems from a long-standing
                                  25
                                       partnership between the executive and legislative branches. See Opp’n at 5-6 (citing, inter alia, 19
                                  26
                                       Stat. 169; 37 Stat. 413; the Veterans’ Preference Act of 1944; the Federal Employee Pay Act of
                                  27
                                       1945; the 1966 recodification and amendment of the Veterans’ Preference Act of 1944).
                                  28
                                                                                            28
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                                   1          In recent history, this congressional check on executive reach has stopped Democratic and

                                   2   Republican presidents alike from restructuring federal agencies. Presidents George W. Bush, Barack

                                   3   Obama, and Donald Trump (in his first term) all sought but did not receive Congressional approval

                                   4   to reorganize the executive branch. CRS R44909 at 7; H.R. 6787, 115th Congress (2017-2018); S.

                                   5   3137, 115th Congress (2018). Indeed, during the first months of his first term in office, President

                                   6   Trump attempted a large-scale reorganization of federal agencies when he issued Executive Order

                                   7   13781, entitled, “Comprehensive Plan for Reorganizing the Executive Branch.” See 82 Fed. Reg.

                                   8   13,959 (Mar. 16, 2017). That order called for agency heads to submit plans within 180 days “to

                                   9   reorganize the agency, if appropriate, in order to improve the efficiency, effectiveness, and

                                  10   accountability of that agency.” Id. The accompanying legislation, however, died in Congress. See

                                  11   H.R. 6787, 115th Congress (2017-2018); S. 3137, 115th Congress (2018).

                                  12          The simple proposition that the President may not, without Congress, fundamentally
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                                  13   reorganize the federal agencies is not controversial: constitutional commentators and politicians

                                  14   across party lines agree that “sweeping reorganization of the federal bureaucracy requires the active

                                  15   participation of Congress.” See Heritage Found. Legal Memorandum No. 4782 at 1-2; see also Paul

                                  16   J. Larkin, Jr. & John-Michael Seibler, The President’s Reorganization Authority, Heritage Found.

                                  17   Legal Memorandum No. 210, at 1 (July 12, 2017), available at: https://www.heritage.org/political-

                                  18   process/report/the-presidents-reorganization-authority [https://perma.cc/2T7K-H6EY] (“. . . to

                                  19   accomplish major reorganization objectives, [the President] will need explicit statutory authority

                                  20   from Congress . . .”); Ronald C. Moe, Cong. Rsch. Serv., RL30876, The President’s Reorganization

                                  21   Authority: Review and Analysis 2 (2001) (“It is Congress, through law, that determines the mission

                                  22   of agencies, personnel systems, confirmation of executive officials, and funding, and ultimately

                                  23   evaluates whether the agency shall continue in existence.”) (emphasis added).            As former

                                  24   government officials note in their amicus brief, House Representative James Comer (R-Kentucky)

                                  25   has introduced the Reorganizing Government Act of 2025. See H.R. 1295, 119th Cong. (2025). The

                                  26   bill would allow “Congress to fast-track President Trump’s government reorganization plans by

                                  27   renewing a key tool to approve them swiftly in Congress.” Press Release, House Committee on

                                  28   Oversight and Government Reform, Chairman Comer and Senator Lee Introduce Bill to Fast-Track
                                                                                        29
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                                   1   President     Trump’s       Government        Reorganization       Plans      (Feb.     13,      2025),

                                   2   https://oversight.house.gov/release/chairman-comer-and-senator-lee-introduce-bill-to-fast-track-

                                   3   president-trumps-government-reorganization-plans/ [https://perma.cc/3XSV-TKWL].               The bill

                                   4   contemplates that the President must partner with Congress on a government reorganization effort,

                                   5   acknowledging that presidential “reorganization authority . . . was last in effect in 1984[.]” Id.

                                   6          In their brief, defendants assert that judicial review of the Executive Order is unavailable,

                                   7   citing Dalton v. Specter, 511 U.S. 462, 470 (1994).15 Opp’n at 34. The facts of Dalton could not be

                                   8   more different from the scenario here. In Dalton, the Supreme Court held that judicial review of the

                                   9   President’s decision is unavailable “[w]here a statute . . . commits decisionmaking to the discretion

                                  10   of the President.” 511 U.S. at 476-77. At issue in Dalton was a decision by the President to close

                                  11   the Philadelphia Naval Shipyard, pursuant to the Defense Base Closure and Realignment Act of

                                  12   1990. The Act provided for the Secretary of Defense, following notice and public comment, to
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                                  13   prepare closure recommendations, which then went to Congress and to an independent commission,

                                  14   which then held public hearings and prepared a report, which then went to the President for approval,

                                  15   following which Congress then could enact a joint resolution of disapproval. Id. at 464-65. As

                                  16   discussed further below regarding the APA claims, nothing close to this level of procedure has

                                  17   occurred here, at least as far as the record shows. More importantly, Dalton challenged Presidential

                                  18   action taken pursuant to statutory authority that Congress delegated to the President. Thus,

                                  19   defendants misread plaintiffs’ ultra vires theory against President Trump. Plaintiffs’ claim is not

                                  20   that the President exceeded his statutory authority, as the Dalton plaintiffs claimed. Instead, Claim

                                  21   One is about the President acting without any authority, constitutional or statutory. As defendants

                                  22   themselves state in their brief, “[A]n officer may be said to act ultra vires ‘only when he acts without

                                  23   any authority whatever.’” Opp’n at 44 (quoting Pennhurst State Sch. & Hosp. v. Halderman, 465

                                  24   U.S. 89, 101-02 n.11 (1984) (internal quotation marks omitted)). This is precisely what plaintiffs

                                  25

                                  26          15
                                                 Defendants appear to conflate the ultra vires and APA claims, arguing that President
                                       Trump is not subject to the APA and that his Executive Order is not reviewable under APA
                                  27   standards. See Opp’n at 34. However, plaintiffs do not sue President Trump under the APA, and
                                       their APA claims challenge the carrying out of the Executive Order by OPM, OMB, DOGE, and
                                  28   the federal agency defendants but do not challenge the Executive Order itself as violating the APA.
                                                                                         30
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                                   1   here have alleged.

                                   2          Defendants also argue that “federal law expressly permits RIFs, the governing statute

                                   3   expressly directs OPM to promulgate regulations governing RIFs, and Congress has consistently

                                   4   recognized agencies’ authority to engage in RIFs since the nineteenth century.” Opp’n at 35. Maybe

                                   5   so. However, what plaintiffs allege—and what defendants fail to refute—is that Executive Order

                                   6   14210 reaches so broadly as to exceed what the President can do without Congress. The Executive

                                   7   Order mandates that “Agency Heads shall promptly undertake preparations to initiate large-scale

                                   8   reductions-in-force (RIFs), consistent with applicable law,” including submitting plans that “shall

                                   9   discuss whether the agency or any of its subcomponents should be eliminated . . . .”16 Exec. Order

                                  10   14210 § 3(c), (e) (emphasis added). This is not an instance of the President using his “inherent

                                  11   authority to exercise ‘general administrative control of those executing the laws,’” see Opp’n at 4,

                                  12   because Congress has passed no agency reorganization law for the President to execute. Congress
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                                  13   may choose to do so. But as of today, Congress has not.17

                                  14          In defendants’ interpretation, there is no unlawful action here because the President did not

                                  15   order the agencies to take any specific actions, and OMB and OPM were merely providing guidance

                                  16   about how agencies should conduct RIFs. The evidence plaintiffs have presented paints a very

                                  17   different picture: that the agencies are acting at the direction of the President and his team.

                                  18   Defendants submitted no evidence of their own in response. As noted above regarding causation

                                  19   for standing, agencies were not discussing a need for large-scale RIFs prior to the President’s

                                  20   order. In their reply brief, plaintiffs present a declaration that a recently-issued RIF notice at the

                                  21
                                              16
                                  22              The most recent, now lapsed, Congressional authorization for the President to reorganize
                                       the federal agencies covered precisely these actions, including “the transfer of the whole or a part
                                  23   of an agency” and “the abolition of all or a part of the functions of an agency, except that no
                                       enforcement function or statutory program shall be abolished by the plan . . . .” See 9 U.S.C.
                                  24   § 903(a)(1), (2).
                                               17
                                                  Amici the State of Montana et al. filed a brief in support of defendants. Dkt. No. 71-1.
                                  25   They argue, among other things, that “Article II provides the President with broad authority to
                                       manage the federal workforce. . . , and the courts have recognized it for more than two centuries
                                  26   except in limited circumstances not relevant here.” Id. at 3 (citing Trump v. United States, 603 U.S.
                                       593, 609 (2024)). However, a closer read of the cited decision shows that the removal power
                                  27   defendants cite applies “with respect to executive officers of the United States whom he has
                                       appointed.” See Trump, 603 U.S. at 609 (emphasis added). The removal of Presidentially-appointed
                                  28   officers is simply not at issue in this case.
                                                                                        31
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                                   1   Department of Labor attributes the RIF to Executive Order 14210, citing section 3(c) of that order

                                   2   specifically. Decl. Gamble AFGE ISO Reply ¶ 6, Ex. B. The Executive Order itself directs agencies

                                   3   to prioritize RIFs of “all agency initiatives, components, or operations that my Administration

                                   4   suspends or closes.” Exec. Order 14210 § 3(c) (emphasis added). In other words, the President will

                                   5   suspend or close agency operations, and that agency must then be prioritized for a RIF, which is

                                   6   what appears on the present record to be happening. See id. ¶¶ 4-6, Ex. B. The Court reads the

                                   7   mandatory language in the Executive Order as providing specific direction to the agencies.

                                   8          The government also says there are no problems here because the Executive Order and the

                                   9   OMB/OPM Memorandum direct agencies to comply with the law and not to reduce services to the

                                  10   public. Opp’n at 39-40; Exec. Order 14210 §§ 3(c) (“Agency Heads shall promptly undertake

                                  11   preparations to initiate large-scale reductions in force (RIFs), consistent with applicable law”),

                                  12   5(a)(i). As defendants note in their papers, “[a] consistent-with-law provision does not categorically
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                                  13   immunize an Executive Order or similar directive from review.” Opp’n at 40. The Ninth Circuit,

                                  14   in considering “whether, in the absence of congressional authorization, the Executive Branch may

                                  15   withhold all federal grants from so-called ‘sanctuary’ cities and counties[,]” rejected the

                                  16   government’s argument that the words “consistent with law” saved the otherwise unlawful

                                  17   Executive Order. San Francisco, 897 F.3d at 1231, 1239-40.         As the court explained, “‘It is a

                                  18   commonplace of statutory construction that the specific governs the general[,]’ . . . [and t]he

                                  19   Executive Order’s savings clause does not and cannot override its meaning.” Id. at 1239 (quoting

                                  20   RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012)).

                                  21          The Court finds plaintiffs have shown a likelihood of success on the merits of Claim One,

                                  22   which alleges that Executive Order 14210 usurps Congress’s Article I powers and exceeds the

                                  23   President’s lawful authority.

                                  24

                                  25                          b.       Actions by OPM, OMB, and DOGE

                                  26          Plaintiffs also assert that the actions by OPM, OMB, and DOGE in implementing the

                                  27   executive order are ultra vires and therefore unlawful. They argue that none of these defendants

                                  28   “possesses authority to order agencies to reorganize, to engage in ‘large-scale’ RIFs, or to usurp the
                                                                                        32
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                                   1   decision-making authority delegated by Congress.” Mot. at 35.

                                   2

                                   3           OPM: The question of whether the President, acting without Congress, may engage in en

                                   4   masse termination of rank-and-file employees was recently litigated in a case involving the

                                   5   termination of probationary employees at numerous federal agencies. In issuing a temporary

                                   6   restraining order, Judge Alsup of this district found plaintiffs likely to succeed on their ultra vires

                                   7   claim, explaining, “No statute — anywhere, ever — has granted OPM the authority to direct the

                                   8   termination of employees in other agencies.” Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-

                                   9   cv-1780-WHA, 2025 WL 660053, at *4 (N.D. Cal. Feb. 28, 2025).18 Rather, as laid out in statute,

                                  10   “Each Executive agency . . . may employ such number of employees of the various classes

                                  11   recognized by chapter 51 of this title [regarding classification] as Congress may appropriate for

                                  12   from year to year.” 5 U.S.C. § 3101. With regard to OPM in particular, Congress vested the Director
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                                  13   of OPM with a number of functions, none of which include the termination of employees from, or

                                  14   the restructuring of, other federal agencies outside of OPM. See 5 U.S.C. § 1103(a). In the

                                  15   probationary employee case, “OPM concede[d] that it lacks the authority to direct firings outside of

                                  16   its own walls . . . .” Am. Fed’n of Gov’t Emps., 2025 WL 660053, at *5.

                                  17

                                  18           OMB: Housed within the Executive Office of the President, OMB, like OPM, has its

                                  19   functions laid out in statute. See 31 U.S.C. §§ 501-507. None of the statutes authorize OMB to

                                  20   terminate employees outside of OMB or to order other agencies to downsize, nor do defendants

                                  21   point to any such authority in their brief. See also Nat’l Council of Nonprofits v. Off. of Mgmt. &

                                  22   Budget, --- F. Supp. 3d ----, No. CV 25-239 (LLA), 2025 WL 597959, at *15 (D.D.C. Feb. 25, 2025)

                                  23   (“the structure and provisions of Section 503 strongly suggest that OMB occupies an oversight role”

                                  24   and 31 U.S.C. § 503(a)(5) “further indicates that OMB’s role is mainly supervisory, rather than

                                  25   directly active”).

                                  26
                                  27

                                  28           18
                                                    As noted above, the preliminary injunction in Judge Alsup’s case is currently on appeal.
                                                                                         33
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                                   1          DOGE: As plaintiffs rightly note, DOGE “has no statutory authority at all.” Mot. at 37.

                                   2   DOGE was created by Executive Order out of the United States Digital Service, and is housed in

                                   3   the Executive Office of the President. See Exec. Order No. 14158. DOGE therefore could not have

                                   4   been acting pursuant to statutory authority in ordering large-scale RIFs of the workforces at the

                                   5   defendant federal agencies.

                                   6                                                   ***

                                   7          In sum, no statute gives OPM, OMB, or DOGE the authority to direct other federal agencies

                                   8   to engage in large-scale terminations, restructuring, or elimination of itself. Such action is far

                                   9   outside the bounds of any authority that Congress vested in OPM or OMB, and, as noted, DOGE

                                  10   has no statutory authority whatsoever. “[A]n agency literally has no power to act . . . unless and

                                  11   until Congress confers power upon it.” La. Pub. Serv. Comm’n v. F.C.C., 476 U.S. 355, 357 (1986).

                                  12          Plaintiffs are likely to succeed on the merits of their ultra vires claims (Claim Two) against
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                                  13   OPM, OMB, DOGE, and their Directors.

                                  14

                                  15                  2.      APA Claims

                                  16          Plaintiffs also challenge, as violative of the APA: the OMB/OPM Memo; OPM and OMB’s

                                  17   approvals of specific agencies’ ARRPs; and “DOGE’s directives to specific agencies requiring cuts

                                  18   to programs and staffing[.]” Mot. at 37-38. Plaintiffs’ Third through Seventh Claims assert

                                  19   violations of the Administrative Procedure Act against OMB, OPM, DOGE, and their directors,

                                  20   under 5 U.S.C. § 706(2)(A), (C), and (D), and against the federal agency defendants, under 5 U.S.C.

                                  21   § 706(2)(A) and (C).

                                  22          The APA provides, in relevant part, that

                                  23          The reviewing court shall--
                                              . . . (2) hold unlawful and set aside agency action, findings, and conclusions found to
                                  24
                                              be--
                                  25          (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
                                              law;
                                  26          ...
                                              (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory
                                  27          right;
                                  28          (D) without observance of procedure required by law; . . . .

                                                                                         34
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                                   1   5 U.S.C. § 706(2).

                                   2

                                   3                           a.      Final Agency Action

                                   4           The APA provides that “[a]gency action made reviewable by statute and final agency

                                   5   action for which there is no other adequate remedy in a court are subject to judicial review.” 5

                                   6   U.S.C. § 704. Because plaintiffs do not allege that any action here was made reviewable by statute,

                                   7   the threshold question is whether the challenged actions constitute “final agency action.” If not, this

                                   8   Court is without subject matter jurisdiction to decide the APA claim. See San Francisco Herring

                                   9   Ass’n v. U.S. Dep’t of Interior, 683 F. App’x 579, 580 (9th Cir. 2017).

                                  10           The Supreme Court has explained that “two conditions must be satisfied for agency action

                                  11   to be ‘final’: First, the action must mark the ‘consummation’ of the agency’s decisionmaking process

                                  12   . . . —it must not be of a merely tentative or interlocutory nature. And second, the action must be
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                                  13   one by which ‘rights or obligations have been determined,’ or from which ‘legal consequences will

                                  14   flow[.]’” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations omitted).        The Supreme Court

                                  15   has “long taken” a “pragmatic approach” to the question what constitutes final agency action. San

                                  16   Francisco Herring Ass’n v. Dep’t of Interior, 946 F.3d 564, 577-78 (9th Cir. 2019) (quoting U.S.

                                  17   Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 599 (2016)).

                                  18           The record presently before the Court indicates that the challenged actions are final agency

                                  19   actions under the APA. While the ultimate impacts of the RIFs may yet be unknown (in part due to

                                  20   defendants’ refusal to publicize the ARRPs), and while certain ARRPs are still awaiting OMB/OPM

                                  21   approval, nowhere do defendants assert that the OMB/OPM Memo itself is subject to change or is

                                  22   in draft form. Nor do any defendants claim that the ARRPs, once approved, may be modified or

                                  23   rescinded. These actions—the issuance of the OMB/OPM Memo and the approvals of the ARRPs—

                                  24   are done and final. See San Francisco Herring Ass’n, 946 F.3d at 578 (“The Park Service does not

                                  25   suggest it is still in the middle of trying to figure out its position on whether it has jurisdiction over

                                  26   the waters [at issue] . . .”). An agency engages in “final” action, for instance, when it “state[s] a

                                  27   definitive position in formal notices, confirm[s] that position orally, and then send[s] officers out

                                  28   into the field to execute on the directive.” Id. at 579.
                                                                                          35
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                                   1          So have OMB, OPM, DOGE, and their directors done here. The OMB/OPM Memo required

                                   2   agencies to submit Phase 1 ARRPs by March 13 and Phase 2 ARRPs by April 14. As alleged, the

                                   3   ARRPs “are only effectuated by OMB and OPM (and DOGE) approval.” Compl. ¶ 14. The little

                                   4   evidence presented on how the ARRP approval process has actually played out shows that at least

                                   5   one agency (the National Science Foundation) initially submitted an ARRP that “did not include

                                   6   plans for large-scale RIFs” and that OMB, OPM, and DOGE rejected this plan “and directed the

                                   7   agency to implement large-scale RIFs instead.” Decl. Soriano AFGE ¶¶ 8-9. According to a

                                   8   Program Director at the National Science Foundation, “NSF is now following the orders of the

                                   9   DOGE team embedded within the agency and plans to cut its staff of approximately 1,700

                                  10   employees by half.” Id. ¶ 9.19 “It is the imposition of an obligation or the fixing of a legal

                                  11   relationship that is the indicium of finality of the administrative process.” Getty Oil Co. v. Andrus,

                                  12   607 F.2d 253, 256 (9th Cir. 1979). Based on the record to date, the Court finds the OMB/OPM
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                                  13   Memo and OMB/OPM approval of the ARRPs constitute final agency action under the APA.

                                  14          At this time, the Court will refrain from opining on whether DOGE’s actions are subject to

                                  15   review under the APA. The record is less developed as to DOGE’s actions and would benefit from

                                  16   further factual development. Nevertheless, having found above that any actions by DOGE in

                                  17   directing other federal agencies to engage in large-scale RIFs is ultra vires, the Court need not reach

                                  18   the APA question specifically in order for injunctive relief to cover DOGE. See League of

                                  19   Wilderness Defenders/Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 760 &

                                  20   n.3; Cmty. Legal Servs. in East Palo Alto v. United States Dep’t of Health & Human Servs., --- F.

                                  21   Supp. 3d ----, No. 25-cv-2847-AMO, 2025 WL 1233674, at *8 (N.D. Cal. Apr. 29, 2025) (plaintiffs

                                  22   “need only show a likelihood of success on one claim to demonstrate likelihood of success in support

                                  23   of a preliminary injunction”).

                                  24

                                  25

                                  26
                                              19
                                                  Of course, defendants may offer countervailing evidence at the preliminary injunction
                                  27   stage. At this stage, defendants submitted no evidence in support of their opposition brief. The
                                       Court emphasizes that releasing the ARRPs will be critical to a full understanding of the facts as
                                  28   this case proceeds.
                                                                                         36
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                                   1                          b.      Merits

                                   2          The Court likewise reserves ruling on the merits of the APA claim asserting arbitrary and

                                   3   capricious action by OPM, OMB, and DOGE (Claim Four) and the APA claims asserted against the

                                   4   federal agency defendants (Claims Six and Seven). As discussed at the hearing, the release of the

                                   5   ARRPs will significantly aid the Court’s review of the merits of these APA claims.

                                   6          Plaintiffs’ Third Claim—that OMB, OPM, DOGE, and their directors violated the APA by

                                   7   taking action not in accordance with law and exceeding statutory authority—overlaps with the

                                   8   analysis of the ultra vires claim. For the same reasons already stated above, plaintiffs have shown

                                   9   a likelihood of success on their claim that at least OPM and OMB are acting outside their statutory

                                  10   authority by directing large-scale layoffs at other federal agencies.

                                  11          Plaintiffs’ Fifth Claim alleges that OMB, OPM, DOGE, and their directors violated the APA

                                  12   by engaging in “rule-making” without publication and opportunity for notice and comment. In their
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                                  13   brief, defendants assert, incorrectly, that OPM has simply promulgated regulations as they are

                                  14   statutorily authorized to do. See Opp’n at 44 (“Congress expressly empowered OMB [sic] to

                                  15   promulgate regulations governing RIFs, and OPM has done just that.”); see also id. at 35 (“the

                                  16   governing statute expressly directs OPM to promulgate regulations governing RIFs . . .”); id. at 1,

                                  17   7-8, 40-41 (citing 5 U.S.C. § 3502).20 OPM did not promulgate regulations here. Promulgating a

                                  18   regulation would have required a public process, including notice and comment under the APA. See

                                  19   5 U.S.C. § 553. This did not occur. Plaintiffs have shown a likelihood of succeeding on their claim

                                  20   that OPM and OMB engaged in rule-making without notice and comment required by the APA, in

                                  21   issuing the February memorandum and in approving the ARRPs.

                                  22

                                  23          B.      Irreparable Harm

                                  24          The Court discussed plaintiffs’ injuries in the standing section above, but in the context of

                                  25

                                  26          20
                                                 5 U.S.C. § 3502 states, in part, that OPM “shall prescribe regulations for the release of
                                       competing employees in a reduction in force which give due effect to-- (1) tenure of employment;
                                  27   (2) military preference . . .; (3) length of service; and (4) efficiency or performance ratings.” 5
                                       U.S.C. § 3502(a).
                                  28
                                                                                         37
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                                   1   the Winter analysis the Court must also consider whether this injury is irreparable. Plaintiffs assert

                                   2   that constitutional violations constitute irreparable injury, including violations of the separation of

                                   3   powers. Mot. at 48-49. Plaintiffs assert that union members will face irreparable harm when they

                                   4   lose their wages and health benefits and, in some cases, may need to relocate. Id. The Court agrees

                                   5   that these losses constitute irreparable harm and notes that RIF terminations are beginning in less

                                   6   than two weeks at some agencies. As the Ninth Circuit has noted, “[l]ack of timely access to health

                                   7   care poses serious health risks,” especially for individuals with chronic health conditions. Golden

                                   8   Gate Rest. Ass’n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1125 (9th Cir. 2008). Further,

                                   9   facing the potential loss of federal funding, the local government plaintiffs experience irreparable

                                  10   harm when they are forced to plan how to mitigate that loss. See Cnty. of Santa Clara v. Trump,

                                  11   250 F.Supp.3d 497, 537-38 (N.D. Cal. 2017). These plaintiffs cannot recover damages via an APA

                                  12   claim, making their monetary loss irreparable. See California v. Azar, 911 F.3d 558, 581 (9th Cir.
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                                  13   2018).

                                  14            Defendants and their supportive amici states argue from Sampson v. Murray that plaintiffs

                                  15   have not made a sufficient showing of irreparable harm. In Sampson, the Supreme Court considered

                                  16   whether to enjoin the dismissal of a single employee and determined the plaintiff had not made a

                                  17   sufficient showing of irreparable harm “in this type of case,” even though the plaintiff would suffer

                                  18   at least a temporary loss of income. Sampson v. Murray, 415 U.S. 61, 63, 89-90, 92 (1974). But

                                  19   the Court also recognized “that cases may arise in which the circumstances surrounding an

                                  20   employee’s discharge, together with the resultant effect on the employee, may so far depart from

                                  21   the normal situation that irreparable injury might be found.” Id. at 92 n.68. The present case, simply

                                  22   put, is not the same “type of case” as Sampson. The Court here is not considering the potential loss

                                  23   of income of one individual employee, but the widespread termination of salaries and benefits for

                                  24   individuals, families, and communities.

                                  25

                                  26            C.     Balance of Interests

                                  27            The last two factors—assessing the harm to the opposing party and weighing the public

                                  28   interest—“merge when the Government is the opposing party.” Nken, 556 U.S. at 435. In this
                                                                                         38
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                                   1   context, these factors require the Court to ask whether pausing the government’s large-scale RIFs

                                   2   and reorganizations harms the government more than it benefits the plaintiffs. Defendants argue,

                                   3   primarily, that there is no public interest in injunctive relief because its actions are lawful. Opp’n

                                   4   at 48. This argument fails, as the Court has found it likely that defendants’ actions are not lawful.

                                   5   Notably, defendants do not argue that the government would suffer by a temporary preservation of

                                   6   the status quo, although their amici states take up the banner. Id.; Dkt. No. 71-1 (“The President

                                   7   suffers harm when he is unable to exercise his Article II powers.”). The Court notes again that its

                                   8   order does not prevent the President from exercising his Article II powers, it prevents him from

                                   9   exercising Congress’ Article I powers.

                                  10          The Court finds that temporary relief as ordered below would serve the public interest,

                                  11   because “[t]here is generally no public interest in the perpetuation of unlawful agency action. To the

                                  12   contrary, there is a substantial public interest in having governmental agencies abide by the federal
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                                  13   laws that govern their existence and operations.” See League of Women Voters of United States v.

                                  14   Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal quotation marks and citations omitted).

                                  15

                                  16   V.     Scope of Remedy and Order

                                  17          Providing relief beyond the named parties is appropriate where necessary to provide relief

                                  18   to the named parties. Bresgal v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987). The Court has

                                  19   found that plaintiffs are likely to succeed on the merits of their challenges to Executive Order 14210,

                                  20   the OMB/OPM Memorandum, and OMB/OPM’s approval of the ARRPs. The Court acknowledges

                                  21   that its temporary restraining order as detailed below will provide relief beyond the named parties,

                                  22   but to do otherwise is impracticable and unworkable, particularly where the agencies’ RIF plans

                                  23   largely remain secret. To be clear, the Court has not ruled on whether plaintiffs are likely to succeed

                                  24   on their APA claims regarding individual agency ARRPs, but finds it necessary to temporarily

                                  25   enjoin further implementation of those plans because they flow from likely illegal directives.

                                  26   Moreover, since the Court requires more information to evaluate the individual ARRPs and what

                                  27   roles OMB, OPM, and DOGE have played in shaping them, it will order their disclosure under the

                                  28   Court’s inherent powers to manage discovery.           The Court finds it appropriate to order this
                                                                                         39
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                                   1   production on an expedited discovery basis. The timelines required to be in the ARRPs will be

                                   2   particularly useful to the Court as it determines whether further prompt action is necessary.

                                   3          Holding that the President, OMB, OPM, and DOGE have exceeded their authority naturally

                                   4   raises the question of precisely where the line should be drawn between executive and legislative

                                   5   authority over agency reorganization. But as Chief Justice Roberts once wrote, in certain cases

                                   6   “[w]e have no need to fix a line . . . . It is enough for today that wherever that line may be, this

                                   7   [action] is surely beyond it.” See Nat’l Fed’n of Indep. Bus., 567 U.S. at 585.

                                   8          For the foregoing reasons and for good cause shown, the Court therefore ORDERS as

                                   9   follows:

                                  10                  IT IS HEREBY ORDERED that, pending consideration of a
                                                      preliminary injunction, the agency defendants (as delineated below)
                                  11                  and their officers or employees or any other individuals acting under
                                                      their authority or the authority of the President are hereby enjoined
                                  12                  and/or stayed from taking any actions to implement or enforce
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                                                      sections 3(c) and 3(e) of Executive Order 14210 or the February 26,
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                                  13                  2025 OMB/OPM Memorandum, including but not limited to:
                                                      (1) any further approval of ARRPs or waivers of statutorily-mandated
                                  14                  RIF notice periods by OMB and OPM;
                                  15                  (2) any further orders by DOGE to agencies to cut programs or staff
                                                      in conjunction with implementing the Executive Order, the
                                  16                  OMB/OPM Memorandum, or the ARRPs;
                                                      (3) any further implementation of the Executive Order, the
                                  17                  OMB/OPM Memorandum, or ARRPs by Federal Agency
                                                      Defendants, including but not limited to: execution of any existing
                                  18                  RIF notices (including final separation of employees), issuance of any
                                                      further RIF notices, placement of employees on administrative leave,
                                  19                  and transfer of functions or programs between the agency defendants.
                                  20                  This restraining order shall last fourteen days, through Friday, May
                                                      23, 2025, unless the Court finds good cause to extend it. See Fed. R.
                                  21                  Civ. P. 65(b)(2). The restraining order shall apply to the following
                                                      defendant agencies: OMB, OPM, DOGE, USDA, Commerce,
                                  22                  Energy, HHS, HUD, Interior, Labor, State, Treasury, Transportation,
                                                      VA, AmeriCorps, EPA, GSA, NLRB, NSF, SBA, and SSA.
                                  23                  IT IS FURTHER ORDERED that, good cause having been shown
                                                      pursuant to Federal Rule of Civil Procedure 26(d), OMB and OPM
                                  24                  must provide to the Court and to Plaintiffs (1) the versions of all
                                                      defendant agency ARRPs submitted to OMB and OPM, (2) the
                                  25                  versions of all defendant agency ARRPs approved by OMB and
                                                      OPM, (3) any agency applications for waivers of statutorily-mandated
                                  26                  RIF notice periods, and (4) any responses by OMB or OPM to such
                                                      waiver requests, by 4:00 p.m. (PDT) on Tuesday, May 13, 2025.
                                  27
                                                      IT IS FURTHER ORDERED that, by 3:00 p.m. (PDT) on Tuesday,
                                  28                  May 13, 2025, defendants shall serve and file a declaration(s)

                                                                                        40
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                                                      verifying that they have complied with this Order, including serving
                                   1                  a copy of this order on every defendant agency head, and detailing
                                                      what additional steps, if any, they have taken to comply.
                                   2

                                   3
                                       VI.    Rule 65(c) Security
                                   4
                                              Rule 65(c) of the Federal Rules of Civil Procedure provides that a district court “may issue
                                   5
                                       a preliminary injunction or a temporary restraining order only if the movant gives security in an
                                   6
                                       amount that the court considers proper to pay the costs and damages sustained by any party found
                                   7
                                       to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). The district court retains
                                   8
                                       discretion “as to the amount of security required, if any.” Johnson v. Couturier, 572 F.3d 1067,
                                   9
                                       1086 (9th Cir. 2009) (internal quotation marks and citations omitted).
                                  10
                                              The government has requested that the Court require plaintiffs give security in an amount
                                  11
                                       “commensurate to the salaries and benefits the government must pay for any employees it would
                                  12
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                                       prefer to separate from federal service but is unable to for the duration of any preliminary relief.”
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                                  13
                                       Opp’n at 50.21 The Court notes, first, that defendants have not provided support for security in any
                                  14
                                       fixed amount, and the Court cannot establish such an amount without the ARRPs or some other
                                  15
                                       evidence showing the comprehensive RIF plans.22 Second, the Court finds there is significant public
                                  16
                                       interest underlying this action, particularly in light of the constitutional claims raised. See Taylor-
                                  17
                                       Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095, 1102-03 (D. Haw. 2015) (citing Save Our Sonoran,
                                  18
                                       Inc. v. Flowers, 408 F.3d 1113, 1126 (9th Cir. 2005)). Although defendants allege they will incur
                                  19
                                       costs for retaining federal employees that they would prefer to separate, Opp’n at 50, so too will the
                                  20
                                       government incur costs if the RIFs are implemented hastily and unlawfully. See, e.g., Compl., Ex.
                                  21

                                  22          21
                                                  On March 11, 2025, President Trump issued a memorandum for the heads of executive
                                  23   departments and agencies, stating that the policy of the United States is to demand the posting of a
                                       bond when a plaintiff seeks an injunction against the federal government. Donald J. Trump,
                                  24   Ensuring the Enforcement of Federal Rule of Civil Procedure 65(c), The White House (Mar. 11,
                                       2025),     https://www.whitehouse.gov/presidential-actions/2025/03/ensuring-the-enforcement-of-
                                  25   federal-rule-of-civil-procedure-65c/ [https://perma.cc/GF6W-9MPE].
                                               22
                                                  On April 10, 2025, a group of United States Senators sent a letter to the heads of OPM
                                  26   and OMB requesting, among other things, copies of the Phase 1 and Phase 2 ARRPs submitted to
                                       OPM and OMB, the impact of the RIFs relating to costs or savings to agency budgets, and the
                                  27   number of people placed on administrative leave. See Dkt. No. 1-3, Compl., Ex. C. Although the
                                       Senators requested a response by April 21, at the hearing in this case government counsel could not
                                  28   confirm whether a response has issued.
                                                                                         41
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                                   1   C at 2 (defendant Kennedy stating, with regard to April terminations of HHS employees:

                                   2   “[p]ersonnel that should not have been cut were cut . . . that was always the plan . . . we’re going

                                   3   to do 80% cuts, but 20% of those are going to have to be reinstated, because we’ll make mistakes.”).

                                   4   At this time, the Court waives the requirement that plaintiffs post a bond.

                                   5

                                   6                                             CONCLUSION

                                   7          The Court concludes where it began. The President has the authority to seek changes to

                                   8   executive branch agencies, but he must do so in lawful ways and, in the case of large-scale

                                   9   reorganizations, with the cooperation of the legislative branch. Many presidents have sought this

                                  10   cooperation before; many iterations of Congress have provided it. Nothing prevents the President

                                  11   from requesting this cooperation—as he did in his prior term of office. Indeed, the Court holds the

                                  12   President likely must request Congressional cooperation to order the changes he seeks, and thus
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 United States District Court




                                  13   issues a temporary restraining order to pause large-scale reductions in force in the meantime.

                                  14          A temporary restraining order is, by definition, temporary. The Court will not consider

                                  15   defendants’ request for a stay of execution of the temporary restraining order, as doing so would

                                  16   render the exercise pointless. The Court must promptly proceed to consideration of a preliminary

                                  17   injunction.

                                  18          Plaintiffs’ motion for a preliminary injunction shall be filed no later than Wednesday, May

                                  19   14, 2025 at 4:00 p.m. (PDT) and shall not exceed 25 pages; defendants’ opposition is due by

                                  20   Monday, May 19, 2025 at 4:00 p.m. (PDT) and shall not exceed 25 pages. The Court shall hold a

                                  21   preliminary injunction hearing in person on Thursday, May 22, 2025 at 10:30 a.m.

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: May 9, 2025

                                  25                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  26                                                    United States District Judge
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